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  1               UNITED STATES DISTRICT COURT

  2           CENTRAL DISTRICT OF CALIFORNIA

  3                 EASTERN DIVISION

  4                     ---

  5        HONORABLE STEPHEN G. LARSON, JUDGE PRESIDING

  6                     ---

  7   MATTEL, INC.,                )

                           )

  8                PLAINTIFF, )

                           )

  9         VS.                ) NO. CV 04-09049

                           )

 10   MGA ENTERTAINMENT, INC., ET. AL., )

                           )

 11                DEFENDANTS. ) TRIAL DAY 10

      ___________________________________) MORNING SESSION

 12   AND CONSOLIDATED ACTIONS,               ) PAGES 1889 - 1975

                           )

 13

 14

 15       REPORTER'S TRANSCRIPT OF JURY TRIAL PROCEEDINGS

 16                RIVERSIDE, CALIFORNIA

 17                TUESDAY, JUNE 10, 2008

 18                    8:13 A.M.

 19

 20

 21

 22

 23               THERESA A. LANZA, RPR, CSR

              FEDERAL OFFICIAL COURT REPORTER

 24               3470 12TH STREET, RM. 134

                  RIVERSIDE, CALIFORNIA 92501

 25                   951-274-0844

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  1   APPEARANCES:

  2

      ON BEHALF OF MATTEL, INC.:

  3

               QUINN EMANUEL

  4            BY: JOHN QUINN

                 JON COREY

  5              MICHAEL T. ZELLER

                 HARRY OLIVAR

  6              TIMOTHY ALGER

               865 S. FIGUEROA STREET,

  7            10TH FLOOR

               LOS ANGELES, CALIFORNIA 90017

  8

  9

 10   ON BEHALF OF MGA ENTERTAINMENT:

 11            SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

               BY: THOMAS J. NOLAN

 12              JASON RUSSELL

                 RAOUL KENNEDY

 13              LAUREN AGUIAR

                 CARL ROTH

 14            300 SOUTH GRAND AVENUE

               LOS ANGELES, CALIFORNIA 90071-3144

 15            213-687-5000

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  6

  7

  8   PLAINTIFF

      WITNESS         DIRECT      CROSS       REDIRECT        RECROSS

  9   ISAAC LARIAN (CONT'D)

 10   BY MR. PRICE       1948

      BY MR. NOLAN              1959

 11

 12

 13

 14       EXHIBITS       RECEIVED

 15       17281         1963

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  1     RIVERSIDE, CALIFORNIA; TUESDAY, JUNE 10, 2008; 8:13 A.M.


  2                -OOO-


  3       THE CLERK: CALLING CASE NUMBER CV04-09049-SGL, IN


  4   THE MATTER OF MATTEL, INC., V. MGA, INC., ET AL.


  5       COUNSEL, PLEASE STATE YOUR APPEARANCES FOR THE


  6   RECORD.


  7        MR. QUINN: JOHN QUINN, MIKE ZELLER, JON COREY FOR


  8   MATTEL.


  9        MR. NOLAN: TOM NOLAN, RAOUL KENNEDY, AND


 10   BERNARD SHEK ON BEHALF OF MGA.


 11        THE COURT: GOOD MORNING TO YOU ALL.


 12        DO WE HAVE APPEARANCES FROM LITTLER MENDELSON AND


 13   CARTER BRYANT?


 14        MS. ANDERSON: CHRISTA ANDERSON FOR MR. BRYANT.


 15        MR. KRAMER: JEFF KRAMER, TROY GOULD, FOR


 16   LITTLER MENDELSON.


 17        THE COURT: I RECEIVED YOUR FILING THAT CAME IN LATE


 18   LAST NIGHT. FOR THE RECORD, I RECEIVED YOUR OPPOSITION TO


 19   MATTEL'S MOTION TO COMPEL THE DEPOSITION, AND I'VE REVIEWED


 20   THAT THIS MORNING;


 21        I THEN HAVE MR. WICKHAM'S DECLARATION, WHICH GOES


 22   THROUGH THE TIMELINE ON THE COMPUTERS;


 23        I THEN HAVE SOMETHING WHICH IS NOT CLEAR TO ME.


 24        WHAT IS THIS? THIS DECLARATION OF...BLANK?


 25        MR. KRAMER: THAT IS, YOUR HONOR, AN EXHIBIT TO



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  1   MR. WICKHAM'S DECLARATION. IT WAS A DECLARATION THAT WAS


  2   PROPOSED, AS WE UNDERSTAND IT -- AS MR. WICKHAM DESCRIBES IT,


  3   IN THE MEET-AND-CONFER PROCESS RELATED TO THIS DEPOSITION. IT


  4   WAS PROPOSED BY COUNSEL FOR THE PLAINTIFF. WE ATTACHED IT


  5   BECAUSE WE THINK IT'S INDICATIVE OF THE FACT THAT A DECLARATION


  6   SHOULD SUFFICE.


  7       THE COURT: VERY GOOD.


  8       THEN I HAVE THE DECLARATION OF KEITH JACOBY.


  9       AND THEN THERE'S ANOTHER FAX THAT CAME IN AT 8:00


 10   A.M., THE CORRECTED FILING, WHICH HAS BASICALLY THE SAME THING;


 11   IT JUST ADDED THE PAGE 1 THAT WAS MISSING FROM THE OPPOSITION.


 12       MR. KRAMER: THAT'S CORRECT, YOUR HONOR.


 13       THE COURT: VERY GOOD.


 14       COUNSEL, I HAD ASKED FOR THIS BY THE CLOSE OF


 15   BUSINESS YESTERDAY, AND IT DIDN'T COME UNTIL AFTER THE COURT


 16   WAS GONE; SO I JUST RECEIVED THIS 10 OR 15 MINUTES AGO, SO I


 17   HAVE NOT HAD A CHANCE TO REVIEW THIS. BUT I HAVE EXTENSIVELY


 18   GONE THROUGH THE RECORD, AND THIS MAY OR MAY NOT BE NECESSARY;


 19   SO I'M GOING TO PUT THIS ASIDE FOR THE TIME BEING.


 20       I HAVE SPENT A LOT OF TIME GOING THROUGH AND TRYING


 21   TO RECREATE WHAT HAPPENED HERE WITH RESPECT TO THE COMPUTERS,


 22   BASED ON ALL OF THE EVIDENCE THAT I HAVE HAD A CHANCE TO


 23   REVIEW. I DID THIS OVER THE WEEKEND AND YESTERDAY. AND


 24   THERE'S A LOT OF ALLEGATIONS THAT GO BACK AND FORTH ON BOTH


 25   SIDES, AND I THINK AT THE END OF THE DAY, WHILE CERTAINLY SOME



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  1   MISTAKES WERE MADE, AND, OF COURSE, I HAVE THE BENEFIT OF


  2   HINDSIGHT, WHICH THE PARTIES, IN THE MIDST OF BATTLE, PERHAPS,


  3   DON'T HAVE; BUT WITH THE BENEFIT OF HINDSIGHT, IT'S JUST NOT


  4   QUITE AS CONFUSING AS I THINK IT'S MADE OUT TO BE.


  5       AS I UNDERSTAND THE RECORD, IN NOVEMBER OF 2000,


  6   CARTER BRYANT, IN HIS DEPOSITION, INDICATES THAT HE HAS THREE


  7   COMPUTERS THAT HE WORKED ON; HIS PARENTS' COMPUTER, WHICH I


  8   THINK EVERYBODY AGREES IS LONG GONE; AND WHAT I'M GOING TO CALL


  9   THE 2000 DESKTOP AND THE 2001 LAPTOP. THAT COMES OUT IN THE


 10   DEPOSITION OF NOVEMBER OF 2004.


 11       FAST-FORWARDING TO JANUARY 3, 2007, MATTEL FILES A


 12   MOTION TO COMPEL THE PRODUCTION OF DOCUMENTS. IN THE MOTION


 13   ITSELF, IT SEEKS, QUOTE, AMONGST OTHER THINGS, OF COURSE,


 14   "CARTER BRYANT TO PRODUCE THE HARD DRIVES OF COMPUTERS IN HIS


 15   POSSESSION, CUSTODY, OR CONTROL FOR FORENSIC IMAGING." THERE'S


 16   NO LIMITATIONS PLACED ON THE REQUEST. IT USES THE PLURAL.


 17   IT'S CLEARLY A REQUEST FOR ALL HARD DRIVES OF COMPUTERS IN HIS


 18   POSSESSION, CUSTODY, OR CONTROL.


 19       NOW, IN MATTEL'S SEPARATE STATEMENT, WHICH IS


 20   LANGUAGE THAT IS DECIDED BY THE DEFENSE ON THIS, IT IS TRUE


 21   THAT MATTEL STATES, QUOTE, "THERE ARE THREE DIFFERENT COMPUTERS


 22   THAT MATTEL IS AWARE OF THAT ARE RELEVANT HERE." THAT'S A


 23   SEPARATE STATEMENT ON PAGE 58. BUT THAT'S NOT A SUGGESTION


 24   THAT THE MOTION IS LIMITED TO THAT. IT'S SIMPLY SUGGESTING


 25   THAT THOSE ARE THE THREE COMPUTERS THAT MATTEL IS AWARE OF,



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  1   WHICH, BASED ON THE DEPOSITION IN NOVEMBER OF 2004, IS ALL


  2   MATTEL COULD BE AWARE OF. AND IF THERE'S SOMETHING ELSE IN THE


  3   RECORD WHICH INDICATES THAT MATTEL WAS AWARE OF ADDITIONAL


  4   COMPUTERS AS OF JANUARY 3, 2007, I'D LIKE TO SEE IT. BUT I


  5   COULDN'T FIND THAT ANYPLACE.


  6        ON JANUARY 11, 2007, CARTER BRYANT SERVES BUT DOES


  7   NOT FILE AN OPPOSITION TO THE MOTION. IN HIS SEPARATE


  8   STATEMENT, CARTER BRYANT REPRESENTS THAT, QUOTE, "HE MADE A


  9   DILIGENT AND REASONABLE EFFORT TO LOCATE ALL THREE COMPUTERS


 10   REFERENCED AT HIS DEPOSITION AND THAT AFTER THE SEARCH, HE IS


 11   ONLY ABLE TO LOCATE ONE OF THE OLD COMPUTERS THAT HE USED


 12   AND/OR OWNED." IT DOESN'T INDICATE WHICH OF THE THREE


 13   COMPUTERS HE'S REFERRING TO, BUT HE DOES INDICATE THAT HE WAS


 14   ONLY ABLE TO LOCATE ONE.


 15        THE KEITH JACOBY DECLARATION, ACCOMPANYING THE


 16   SEPARATE STATEMENT, INDICATES THAT THE COMPUTER HARD DRIVE IN


 17   QUESTION IS THE COMPUTER HE USED FROM 2000 TO 2002. SINCE YOU


 18   HAVE ONE COMPUTER THAT WAS PURCHASED IN 2000, ANOTHER ONE THAT


 19   WAS IN 2001, I ASSUME THE COMPUTER THAT'S BEING REFERRED TO IS


 20   THE 2000 DESKTOP, BECAUSE OBVIOUSLY, THE 2001 LAPTOP COULDN'T


 21   HAVE BEEN USED IN 2000.


 22        IN THE NEXT PARAGRAPH, MR. JACOBY INDICATES THAT


 23   COUNSEL HAS EXAMINED CARTER BRYANT'S HARD DRIVE -- HE USES THE


 24   SINGULAR -- BUT THEN HE GOES ON TO SAY THAT BRYANT HAS


 25   TIRELESSLY SEARCHED FOR AND INSPECTED HIS COMPUTER HARD DRIVES,



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  1   PLURAL. IT DOES ADD TO THE CONFUSION.


  2       NONETHELESS, ON JANUARY 18, 2007, MATTEL FILED A


  3   REPLY IN WHICH IT NOTES THE ABSENCE OF OPPOSITION TO ITS


  4   REQUEST TO PRODUCE HIS COMPUTER HARD DRIVES -- AGAIN THE


  5   PLURAL -- AND REQUESTS THE COURT TO COMPEL HIM, CARTER BRYANT,


  6   TO PERMIT MATTEL TO INSPECT AND IMAGE THE HARD DRIVE HE ADMITS


  7   HE POSSESSES; SO MATTEL IS GUILTY OF ESSENTIALLY THE SAME


  8   THING, THE PLURAL-SINGULAR THING.


  9       THEY DON'T SPECIFY WHICH OF THESE HARD DRIVES THAT


 10   THEY'RE ASKING FOR, BUT THEY DO GO ON TO SAY, "AS WELL AS ANY


 11   OTHERS HE CAN LOCATE, FOLLOWING A REASONABLE GOOD FAITH


 12   SEARCH."


 13       ON JANUARY 24, 2007, THE DISCOVERY MASTER CONDUCTS A


 14   TELEPHONIC HEARING. AND I ASKED FOR AND RECEIVED OVER THE


 15   WEEKEND -- OR ACTUALLY, LAST WEEK -- THE TRANSCRIPT FROM THAT


 16   HEARING. DURING THE HEARING, THE DISCOVERY MASTER FINDS THE


 17   DOCUMENTS SOUGHT ARE RELEVANT UNDER RULE 26 AND CARTER BRYANT


 18   FAILED TO DEMONSTRATE THAT THE DISCOVERY SHOULD BE BARRED UNDER


 19   26(B)(2) AND THE MOTION SHOULD BE GRANTED NEARLY IN FULL.


 20       THE DISCOVERY MASTER ASKS COUNSEL FOR CARTER BRYANT


 21   HOW MUCH TIME HE NEEDS TO COMPLY WITH A FULL GRANTING. IT SAYS


 22   30 DAYS. THE DISCOVERY MASTER ENTERS THE ORDER, REQUIRING FULL


 23   COMPLIANCE IN 30 DAYS. THE ORDER ITSELF, WHICH WAS ISSUED ON


 24   JANUARY 26TH, GRANTED THE MOTION TO COMPEL AND EXPRESSLY STATED


 25   THAT PURSUANT TO RULE 34, BRYANT SHALL PRODUCE THE HARD DRIVES



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  1   OF HIS COMPUTER FOR FORENSIC IMAGING. PERIOD.


  2       IT SAID HARD DRIVES WERE ORDERED TO BE PRODUCED BY


  3   FEBRUARY 23RD. THE ORDER WAS NEVER APPEALED. IT IS AN ORDER


  4   OF THIS COURT. PERIOD.


  5       AFTER THE ORDERS, THE PARTIES STIPULATE TO CERTAIN


  6   CONTINUANCES, WHICH THEY SHOULD HAVE NOT DONE. YOU CAN'T


  7   CHANGE AN ORDER OF THE FEDERAL COURT BY STIPULATION OR


  8   AGREEMENT. IF YOU WANT TO CHANGE AN ORDER, THE PROPER


  9   PROCEDURE IS TO SUBMIT AN APPLICATION OR A STIPULATION TO HAVE


 10   THE ORDER CHANGED. THAT WAS NEVER DONE. BUT BE THAT AS IT


 11   MAY, BOTH PARTIES SEEM TO AGREE THAT THEY WOULD JUST, ON THEIR


 12   OWN, MODIFY THE COURT'S ORDER AND ALLOW FOR ADDITIONAL TIME TO


 13   PRODUCE.


 14       AFTER THAT, AT LEAST THE RECORD THAT I HAVE BEFORE


 15   ME, APPARENTLY ON MARCH 26, 2007, MR. ZELLER SENDS MR. WICKHAM,


 16   COUNSEL FOR CARTER BRYANT, A LETTER THREATENING A MOTION TO


 17   COMPEL FOR CARTER BRYANT'S, QUOTE, "FAILURE TO PRODUCE HIS HARD


 18   DRIVE," SINGULAR, "AS ORDERED BY JUDGE INFANTE'S ORDER


 19   COMPELLING ITS PRODUCTION." SO AT LEAST AS MR. ZELLER IS


 20   CHARACTERIZING THE ORDER IN THE MARCH 26TH LETTER; IT'S SIMPLY


 21   A REFERENCE TO A SINGULAR HARD DRIVE.


 22       ON APRIL 6, 2007, MR. ZELLER SENDS MR. WICKHAM A


 23   LETTER CONFIRMING A CONVERSATION IN WHICH MR. WICKHAM


 24   APPARENTLY REPRESENTED THAT COUNSEL HAS IMAGES FOR FIVE


 25   COMPUTERS THAT CARTER BRYANT USED, INCLUDING THE 2000 DESKTOP



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  1    AND THE 2001 LAPTOP. MR. ZELLER UNDERSTANDS THAT MR. WICKHAM


  2    WILL PROVIDE DETAILS OF THE OTHER THREE COMPUTERS FOR WHICH


  3    IMAGES WERE MADE IN MARCH OF 2007.


  4         SO NOW WE'RE AT SIX COMPUTERS THAT EVERYBODY KNOWS


  5    ABOUT; THE PARENTS', THE 2001 DESKTOP, THE 2001 LAPTOP, AND


  6    THESE THREE OTHER COMPUTERS THAT COME TO LIGHT SOMETIME IN


  7    MARCH OF 2007.


  8         ON APRIL 23, 2007, AS I UNDERSTAND IT, OR


  9    THEREABOUTS, CARTER BRYANT PRODUCES THE DESKTOP AND THE DESKTOP


  10   IMAGE. THIS IS THE 2000 DESKTOP AND THE 2000 DESKTOP IMAGE. I


  11   GUESS THE IMAGE WAS TAKEN SOMETIME IN 2004, 2005.


  12        ABOUT JULY OF 2007, CARTER BRYANT PRODUCES THE 2001


  13   LAPTOP. AND THAT WAS AFTER THIS COURT HAD AFFIRMED THE


  14   DECISION OF THE DISCOVERY MASTER REGARDING THE DISCOVERY OF


  15   UNRELEASED BRATZ PRODUCTS.


  16        SO TWO OF THE FIVE KNOWN COMPUTERS ARE PRODUCED BY


  17   JULY OF 2007.


  18        THEN THE NEXT EVIDENCE OF COMPUTERS THAT I FOUND WAS


  19   THIS JANUARY 14, 2008 CARTER BRYANT AFFIDAVIT. AND WE ALL KNOW


  20   THE HISTORY OF THAT. THE COURT HAD ISSUED IN OCTOBER OF 2007


  21   AN ORDER DIRECTING ALL PARTIES TO SUBMIT, BASICALLY, AN


  22   ACCOUNTING OF THEIR RETENTION PROCEDURES.


  23        FOR REASONS THAT ARE STILL UNCLEAR TO THE COURT,


  24   CARTER BRYANT DID NOT THINK THAT IT APPLIED TO HIM. THE COURT


  25   ISSUED A CLARIFYING ORDER IN JANUARY, EARLY JANUARY. AND ON



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  1    JANUARY 14TH OR 15TH, WE GET THIS AFFIDAVIT.


  2         THE AFFIDAVIT IDENTIFIES THE 2000 DESKTOP, WHICH HE


  3    GAVE TO HIS NIECE IN 2003; THE 2001 -- OR NOW HE'S


  4    CHARACTERIZING IT AS AN EARLY 2002 LAPTOP; HE MAKES REFERENCE


  5    TO THE IMAGING OF THREE COMPUTERS THAT HE HAD USED SINCE


  6    JULY 2004, WHICH THE COURT ASSUMES ARE THE THREE COMPUTERS THAT


  7    MR. WICKHAM WAS REFERRING TO MR. ZELLER IN HIS CORRESPONDENCE


  8    BACK IN 2007.


  9         AND THEN HE STATES IN HIS AFFIDAVIT, "I DO NOT HAVE


  10   ANY COMPUTERS, FILES, MATERIALS, OR OTHER DOCUMENTS OR THINGS


  11   AT ANY LOCATION THAT HAVE NOT BEEN PROVIDED TO COUNSEL FOR


  12   INSPECTION."


  13        INSTEAD OF DISCLOSING THE TWO 2007 COMPUTERS THAT WE


  14   FIND OUT ABOUT IN HIS DEPOSITION, THERE'S THIS CAREFUL USE OF,


  15   "I DON'T HAVE ANY COMPUTERS THAT HAVE NOT BEEN PROVIDED TO


  16   COUNSEL FOR INSPECTION." OF COURSE, WE LEARN A WEEK LATER, ON


  17   JANUARY 23RD, DURING HIS DEPOSITION, THAT HE HAS TWO ADDITIONAL


  18   COMPUTERS THAT WERE PURCHASED DURING 2007, WHICH HE CERTAINLY


  19   WOULD HAVE KNOWN ABOUT IN HIS AFFIDAVIT OF 2008. THEY WEREN'T


  20   REALLY DENIED, BUT THEY DIDN'T REALLY COME TO LIGHT UNTIL


  21   JANUARY 23RD.


  22        SO AT THE END OF THE EVIDENCE, THAT'S WHAT WE HAVE.


  23   WE HAVE, GOING BACK TO THE BEGINNING, THE 1998 COMPUTER OWNED


  24   BY HIS PARENTS, WHICH WAS APPARENTLY TRASHED; THE 2000 DESKTOP,


  25   WHICH WAS PRODUCED; THE 2001, MAYBE EARLY 2002, LAPTOP COMPUTER



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  1    THAT WAS PRODUCED; APPARENTLY TWO -- WHAT I'M GOING TO CALL AND


  2    WHAT MATTEL CALLS THE 2004 COMPUTERS; WE DON'T KNOW EXACTLY


  3    WHEN THEY WERE PURCHASED, BUT THEY WERE PURCHASED SOMETIME,


  4    ACCORDING TO CARTER BRYANT, AFTER THE 2000 AND 2001 COMPUTERS


  5    WERE IMAGED; AND THEN WE HAVE TWO OR THREE FROM 2007.


  6        APPARENTLY, ALL OF THESE HAVE BEEN IMAGED; ALL OF


  7    THESE ARE IN THE POSSESSION OF CARTER BRYANT.


  8        THAT'S MY UNDERSTANDING OF THE COMPUTERS.


  9        IF ANY OF THAT IS INACCURATE, NOW IS THE TIME FOR


  10   SOMEONE TO SPEAK UP AND LET ME KNOW.


  11       I'LL BEGIN WITH MS. ANDERSON.


  12       MS. ANDERSON: THANK YOU, YOUR HONOR.


  13       LET ME START AT THE END.


  14       THE COURT: SPECIFIC QUESTION BY THE COURT:


  15       WHERE AM I INACCURATE?


  16       WE HAVE TWO HOURS THIS MORNING. WE WERE SUPPOSED TO


  17   START AT 8:00. COUNSEL WASN'T READY UNTIL 8:10.


  18       MS. ANDERSON: THANK YOU, YOUR HONOR.


  19       AND I'LL PREFACE THIS WITH THE STATEMENT I MADE


  20   BEFORE THAT WE DO HAVE CONTINUING OBJECTIONS TO JURISDICTIONAL


  21   AND SETTLEMENT RELATED ISSUES.


  22       THE COURT: I THINK THE COURT HAS ALREADY ORDERED AND


  23   RULED ON THEM, COUNSEL. YOU'VE GOT YOUR RECORD.


  24       MS. ANDERSON: I APPRECIATE THAT.


  25       AS FAR AS THE COMPUTERS ARE CONCERNED, YOUR HONOR,



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  1    THE IDENTIFICATION AND BANDYING AMONG LAWYERS OVER TIME, DURING


  2    TIME PERIODS WHEN MY FIRM WAS NOT INVOLVED IN THE CASE, IT IS


  3    DIFFICULT FOR ME TO ADDRESS SOME OF THAT. PEOPLE AT TIMES USE


  4    THE WORD HARD DRIVES, HARD DRIVE --


  5         THE COURT: I ASKED YOU A PARTICULAR QUESTION,


  6    COUNSEL. I REALLY WANT TO GET TO THE BOTTOM OF THESE


  7    COMPUTERS. I DON'T WANT TO HEAR ABOUT -- WE'VE USED ENOUGH


  8    LANGUAGE, ENOUGH VERBIAGE. I HAVE READ THESE BRIEFS AD NAUSEAM


  9    THIS WEEKEND. I UNDERSTAND EVERYONE'S RESPECTIVE POSITIONS.


  10        AM I CORRECT IN MY ASSESSMENT OF WHAT COMPUTERS


  11   EXIST? AND IF I'M NOT, PLEASE LET ME KNOW WHERE I'M MISTAKEN.


  12        MS. ANDERSON: YES.


  13        I WAS A LITTLE BIT CONFUSED BY WHAT YOU SAID IN TERMS


  14   OF LISTING, SO I WANT TO TELL YOU WHAT I UNDERSTAND TO BE THE


  15   CASE, JUST TO MAKE SURE WE'RE ON THE SAME PAGE.


  16        MY UNDERSTANDING IS, THERE WAS THIS OCTOBER 2000


  17   DESKTOP; THERE WAS A LATE 2001, OR EARLY 2002 -- IT'S


  18   UNCLEAR -- LAPTOP.


  19        THE COURT: YES.


  20        MS. ANDERSON: THOSE ARE THE ONES THAT HAVE BEEN


  21   PRODUCED.


  22        THE COURT: YES.


  23        MS. ANDERSON: MY UNDERSTANDING IS THAT THERE'S A


  24   SONY VAIO LAPTOP THAT WAS IMAGED BY MR. BRYANT'S PREVIOUS


  25   COUNSEL IN 2007. AND MY UNDERSTANDING IS THAT WE HAVE THAT



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  1    COMPUTER AND THE IMAGE.


  2         THE COURT: OKAY. AND THAT WAS PURCHASED WHEN?


  3         MS. ANDERSON: I BELIEVE THAT'S ONE OF THE 2004 ONES,


  4    YOUR HONOR. I'LL CONFIRM IN JUST A SECOND.


  5         AND AGAIN, THE DATES ON THAT ARE NOT SET IN STONE;


  6    BUT I BELIEVE THAT'S A 2004 ONE.


  7         THERE'S A SONY DUAL-DRIVE LAPTOP, AT LEAST THAT'S


  8    WHAT I REFER TO IT AS, WHICH, AGAIN, WAS ANOTHER COMPUTER THAT


  9    I UNDERSTAND TO HAVE BEEN IMAGED IN MAY OF 2007.


  10        THE COURT: SO THERE WAS A SECOND LAPTOP AMONGST THE


  11   2004 COMPUTERS.


  12        THIS IS ONE OF THE THINGS THAT DID GO BACK AND FORTH,


  13   WHETHER IN THE 2004 COMPUTERS, THERE WERE TWO OR THREE.


  14        SO NOW YOU'RE SAYING THAT THERE WERE TWO LAPTOPS?


  15        MS. ANDERSON: WELL --


  16        THE COURT: WE'VE GOT TO HAVE THIS STRAIGHT.


  17   EVERYONE WAS CERTAINLY ON NOTICE THAT I WAS GOING TO BE ASKING


  18   THESE QUESTIONS THIS MORNING.


  19        WERE THERE TWO OR ONE LAPTOPS AMONGST THESE 2004


  20   COMPUTERS?


  21        MS. ANDERSON: MY UNDERSTANDING IS THAT THERE WERE


  22   TWO COMPUTERS THAT WERE PURCHASED SOMETIME AROUND 2004, AND MY


  23   UNDERSTANDING IS THAT THERE WERE THREE COMPUTERS PURCHASED


  24   LATER.


  25        WHAT'S UNCLEAR TO ME, BECAUSE THE RECORD IS NOT



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  1    CLEAR, AND MY CLIENT'S MEMORY IS NOT CLEAR ABOUT THE SPECIFIC


  2    NAMES OF LAPTOPS, DUAL-DRIVE, ET CETERA, IT'S DIFFICULT TO PIN


  3    DOWN THE NAME -- A SONY DUAL-DRIVE OR A VAIO LAPTOP, WHETHER


  4    IT'S TIED TO A PARTICULAR DATE.


  5         THE COURT: WELL, HOW MANY COMPUTERS DO YOU HAVE IN


  6    YOUR --


  7         MS. ANDERSON: MY UNDERSTANDING IS THAT THERE ARE


  8    FIVE TOTAL TODAY. THERE'S THREE THAT ARE IN MY CLIENT'S


  9    POSSESSION, AND THERE ARE TWO THAT ARE IN MY FIRM'S POSSESSION.


  10   THAT IS MY UNDERSTANDING.


  11        THERE ARE ALSO IMAGES THAT HAVE BEEN TAKEN.


  12        THE COURT: OF ALL FIVE?


  13        IMAGES OF WHAT?


  14        MS. ANDERSON: THERE'S AN IMAGE OF THE SONY VAIO


  15   LAPTOP, WHICH IS ALSO THE COMPUTER THAT WE HAVE.


  16        THE COURT: OKAY.


  17        MS. ANDERSON: THERE'S AN IMAGE OF THE SONY


  18   DUAL-DRIVE LAPTOP, WHICH IS ALSO A COMPUTER WE HAVE.


  19        THE COURT: OKAY.


  20        MS. ANDERSON: THERE IS ANOTHER SONY DESKTOP, WHICH


  21   APPEARS TO HAVE BEEN IMAGED BY LITTLER IN MAY OF 2007; LITTLER


  22   BEING THE FORMER COUNSEL.


  23        THE COURT: DO YOU KNOW WHEN IT WAS PURCHASED?


  24        MS. ANDERSON: WE DON'T HAVE A PRECISE PURCHASE DATE.


  25        THE COURT: THAT SOUNDS LIKE THE THIRD 2004 COMPUTER.



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  1    BECAUSE HE DOES REFERENCE AT ONE POINT IN TIME THAT HE USED


  2    THREE COMPUTERS AFTER THE FIRST TWO, THE 2000 AND THE 2001,


  3    WERE IMAGED AND TAKEN. HE USED THREE COMPUTERS, AND HE STATES


  4    THAT IN HIS AFFIDAVIT THAT HE SUBMITTED IN JANUARY OF THIS


  5    YEAR.


  6        MS. ANDERSON: I BELIEVE PART OF THE CONFUSION MAY BE


  7    BECAUSE MY UNDERSTANDING IS THAT THE LAPTOP CONTINUED TO BE


  8    USED.


  9        THE COURT: WHICH LAPTOP?


  10       MS. ANDERSON: THE 2002.


  11       AND I'M GOING TO CONFIRM IN MY NOTES IN ONE SECOND.


  12       BUT THERE SEEMS TO HAVE BEEN IMAGES TAKEN OF THINGS


  13   BY LITTLER MENDELSON IN 2004, RIGHT AFTER THE LAWSUIT STARTED.


  14   THEY WENT TO MR. BRYANT; THEY TOOK IMAGES OF HIS COMPUTERS.


  15       THE COURT: RIGHT. OF THE 2000 AND 2001 COMPUTER,


  16   RIGHT. THAT IS CLEAR.


  17       MS. ANDERSON: EXACTLY.


  18       WHAT APPEARS TO BE TRUE FROM THE RECORD, THOUGH, IS


  19   THAT THE DESKTOP WENT TO THE NIECE, RIGHT; THE 2000 DESKTOP


  20   COMPUTER IS THE COMPUTER THAT WAS THE NIECE'S. BUT THE LAPTOP


  21   WAS MR. BRYANT'S; AND WHILE IMAGED, IT DOESN'T APPEAR TO HAVE


  22   BEEN PHYSICALLY TURNED OVER RIGHT AWAY.


  23       THE COURT: OKAY.


  24       MS. ANDERSON: IT MAY HAVE REMAINED IN MR. BRYANT'S


  25   POSSESSION.



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  1        THAT'S WHERE, PURCHASING AN ADDITIONAL COUPLE OF


  2    COMPUTERS IN 2004 WOULD LEAVE HIM WITH THREE COMPUTERS, IS WHY


  3    THERE'S CONFUSION WITH THE NUMBERS, I BELIEVE.


  4        THE COURT: WHAT ABOUT THE 2007 COMPUTERS?


  5        MS. ANDERSON: NOW, PRESENTLY, THE COMPUTERS THAT WE


  6    DO NOT HAVE, MY FIRM DOES NOT HAVE, AND MR. BRYANT HAS, ARE


  7    THREE COMPUTERS WHICH WE IDENTIFY AS A SONY DESKTOP, ANOTHER


  8    SONY VAIO DESKTOP AND A SONY LAPTOP.


  9        THE COURT: RIGHT.


  10       MS. ANDERSON: ALTHOUGH MY CLIENT HAS SOME CONFUSION


  11   DURING HIS DEPO, THESE WERE NOT IMAGED IN 2008.


  12       THE COURT: THESE ARE THE ONES THAT HE REFERS TO IN


  13   HIS AFFIDAVIT KIND OF CRYPTICALLY, WHERE HE SAYS, 'I DON'T HAVE


  14   ANY OTHER COMPUTERS THAT HAVE NOT BEEN REVIEWED BY MY


  15   ATTORNEYS.'


  16       THESE ARE THE THREE THAT YOU WENT IN; YOU REVIEWED


  17   THEM; YOUR FIRM HAS REVIEWED THEM; AND YOU TOOK ANY RELEVANT


  18   DOCUMENTS OFF OF THEM. BUT YOU DID NOT IMAGE THEM; CORRECT?


  19       MS. ANDERSON: ABSOLUTELY CORRECT.


  20       I WOULD LIKE TO STATE, FOR CLARIFICATION OF THE


  21   RECORD, WE DID NOT IN ANY WAY INTEND, YOUR HONOR, TO HIDE ANY


  22   BALLS.


  23       THE COURT: I'M NOT MAKING ANY -- THIS IS NOT


  24   ABOUT -- PLEASE, LET THIS GO FORWARD.


  25       THE ALLEGATIONS THAT HAVE BEEN MADE BY BOTH SIDES,



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  1    ALL SIDES, AGAINST EACH OTHER, FROM MY PERSPECTIVE, ARE JUST


  2    UNCALLED FOR. IF I'M COMING ACROSS A LITTLE BIT ABRUPT THIS


  3    MORNING, IT'S HAVING SPENT A WEEKEND READING LANGUAGE THAT JUST


  4    BORDERS ON THE IRRESPONSIBLE, BY ALL SIDES. I'M REALLY KIND OF


  5    TIRED OF IT. I'M TIRED OF THE -- INSTEAD OF DEALING WITH


  6    FACTS -- I CAN'T COUNT THE NUMBER OF TIMES THAT CERTAIN LINES,


  7    CERTAIN BUZZ LINES, ARE USED OVER AND OVER AND OVER AND OVER


  8    AGAIN, TO NO EFFECT.


  9         YOU'RE AMONGST THE MOST PROFESSIONAL LAWYERS THAT


  10   I'VE EVER ENCOUNTERED. JUST GET TO THE FACTS. THIS HAS BEEN


  11   ONE OF THE MOST FRUSTRATING EXPERIENCES IN THIS CASE, IS JUST


  12   TO GO THROUGH AND COME UP WITH UNADORNED FACTUAL ASSERTIONS.


  13        WE NEED TO GET TO THE BOTTOM OF THIS. THE LAST THING


  14   I WANT TO DO IS HAVE LITTLER MENDELSON, A LAW FIRM, SUBMIT TO A


  15   DEPOSITION. THE LAST THING THAT I WANT TO DO IS CREATE A BIG


  16   ISSUE OUT OF THIS. WHAT I'M TRYING TO DO IS CUT THROUGH THE


  17   YOU KNOW WHAT AND FIND OUT WHAT'S REALLY AT ISSUE HERE. AND


  18   NOBODY SEEMS TO WANT TO HELP OUT IN THAT PROCESS. YOU WANT TO


  19   COME UP HERE AND START TALKING ABOUT GENERAL CONCERNS ABOUT


  20   WHAT WAS SAID -- LET'S JUST FIGURE OUT WHAT HAPPENED HERE,


  21   COUNSEL.


  22        MS. ANDERSON: I DON'T, YOUR HONOR. I WAS SIMPLY


  23   TRYING TO RESPOND, YOUR HONOR. I'M NOT TRYING TO DISTRACT FROM


  24   THE PROCESS.


  25        AS FAR AS THE DESCRIPTIONS OF DIFFERENT STATEMENTS



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  1    YOUR HONOR MADE THAT WERE QUOTED FROM THE PLEADINGS OVER THE


  2    YEARS BETWEEN LITTLER AND QUINN EMANUEL, I CAN'T DISPUTE THE


  3    QUOTES THAT YOUR HONOR READ INTO THE RECORD. THERE CERTAINLY


  4    IS A LOT OF CONFUSION IN REVIEWING THE PLEADINGS. I DON'T KNOW


  5    WHETHER YOUR HONOR WANTS ME TO ARGUE THE MOTION OR --


  6        THE COURT: OH, NO. I'VE HEARD ENOUGH ARGUMENT,


  7    REALLY. I'VE HEARD PLENTY OF ARGUMENT.


  8        IF THERE'S ANYTHING THAT YOU BELIEVE THAT HAS NOT


  9    BEEN COVERED IN YOUR PAPERS, NOW IS THE TIME TO MAKE THAT


  10   ARGUMENT. BUT IF IT WAS COVERED IN YOUR PAPERS, YOU DO NOT


  11   NEED TO SAY ANYTHING THAT'S ALREADY BEEN --


  12       MS. ANDERSON: WELL, THERE'S TWO THINGS THAT WERE NOT


  13   COVERED THAT I BELIEVE ARE OF THE NATURE OF CLARIFYING THINGS,


  14   TO MAKE SURE THERE'S NO DISPUTE ON AT LEAST SOME OF THE


  15   ISOLATED ISSUES RELATED TO THIS.


  16       THE COURT: PLEASE.


  17       MS. ANDERSON: MY UNDERSTANDING, FROM HAVING REVIEWED


  18   MATTEL'S REPLY, IS THAT THEY ARE NOT SEEKING PRODUCTION OF


  19   PRIVILEGED MATERIALS ON HARD DRIVES AND THAT THEY ARE PREPARED


  20   TO ENTER INTO SOME STIPULATED PROTOCOL TO ENSURE THAT MY


  21   CLIENT'S PRIVILEGED COMMUNICATIONS WOULD NOT BE DISCLOSED.


  22       THE COURT: THAT'S STATED AS MUCH, YES.


  23       MS. ANDERSON: SIMILARLY, THIS WAS NOT IN THE PAPERS,


  24   SO I WANT TO GET CLARIFICATION: TO THE EXTENT THE COURT WERE


  25   EVER TO ORDER ANY ADDITIONAL PRODUCTION AND TO THE EXTENT ANY



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  1    OF THESE COMPUTERS CONTAINED EXTREMELY PERSONAL MATERIAL,


  2    TOTALLY UNRELATED TO ANY ISSUE IN THIS CASE, IN THE PAST,


  3    MATTEL HAS BEEN WILLING TO AGREE TO A PROTOCOL TO ENSURE SOME


  4    ADDED PROTECTION FOR THOSE. AND I DON'T KNOW, BUT WOULD HOPE,


  5    MATTEL WOULD DO THE SAME WERE THE COURT TO ORDER SUCH


  6    PRODUCTION.


  7        THE COURT: OF COURSE. THOSE ISSUES HAVE BEEN


  8    ADDRESSED PREVIOUSLY BY THE DISCOVERY MASTER, AND THERE'S NO


  9    CHANGE.


  10       I GUESS THE ONE QUESTION THAT I HAVE THAT I JUST


  11   DON'T GET IS, WHY WASN'T THIS ORDER FOLLOWED?


  12       MS. ANDERSON: YOUR HONOR, SPEAKING JUST FROM THE


  13   TIME THAT WE CAME INTO THIS CASE, IN MAY OR JUNE OF 2007, LAST


  14   YEAR, MY UNDERSTANDING FROM REVIEWING THE PAPERS IS THAT THE


  15   ONLY COMPUTERS THAT WERE IDENTIFIED IN THE MOTION PAPERS WERE


  16   THE THREE COMPUTERS, ONE OF WHICH WE DIDN'T HAVE, AND TWO OF


  17   WHICH WE IMMEDIATELY TURNED OVER SHORTLY AFTER WE GOT INTO THIS


  18   CASE.


  19       AS FAR AS THE OTHER COMPUTERS ARE CONCERNED, IT WAS


  20   NOT OUR UNDERSTANDING THAT ALL HARD DRIVES AND COMPUTERS IN


  21   PERPETUITY THAT MR. BRYANT EVER HAD WOULD HAVE TO BE TURNED


  22   OVER TO MATTEL. THE DOCUMENT DEMANDS THAT UNDERLIE THIS


  23   MOTION, THEY ARE THE FOUNDATION OF A MOTION THAT THE COURT


  24   RULED UPON, THAT THE DISCOVERY MASTER RULED UPON. THEY SPECIFY


  25   A TIME PERIOD, EVEN BY MATTEL'S OWN ADMISSION. IT WAS A DATE



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  1    IN 1995 THROUGH JUNE OF 2004. AND MATTEL CORRECTED ME. I


  2    INITIALLY SAID SEPTEMBER 2004. THEY WERE RIGHT; IT WAS JUNE.


  3    THAT WAS THE TIME PERIOD.


  4        CARTER BRYANT'S FORMER COUNSEL HAD NO REASON OR


  5    IMPETUS TO ARGUE AND PRESENT FACTS ABOUT COMPUTERS THAT FALL


  6    OUTSIDE THAT TIME FRAME.


  7        WHY WOULD THEY HAVE TO DO THAT?


  8        THE COURT: THE ANSWER TO YOUR QUESTION IS THIS: IN


  9    JANUARY OF 2007, MATTEL MAKES A MOTION FOR ALL HARD DRIVES. AT


  10   THIS POINT, THERE'S ARGUMENT OF SPOLIATION; THERE'S ANY NUMBER


  11   OF ARGUMENTS THAT ARE OUT THERE; AND THE DISCOVERY MASTER


  12   ORDERS THAT ALL HARD DRIVES BE TURNED OVER.


  13       NOW, I UNDERSTAND YOU LOOK TO MOTIONS, BUT I TRUST


  14   IT'S NOT YOUR PRACTICE TO LOOK TO THE UNDERLYING MOTION TO


  15   INTERPRET AN UNAMBIGUOUS ORDER BY A COURT?


  16       MS. ANDERSON: IT WAS OUR PRACTICE, IN THE SENSE THAT


  17   WE WERE TRYING TO UNDERSTAND THE CONTEXT GIVEN. WE WERE NOT


  18   COUNSEL AT THE TIME, AND WE WANTED TO MAKE SURE WE UNDERSTOOD


  19   WHAT WAS GOING ON. AND OUR UNDERSTANDING WAS THAT THIS WAS


  20   PURSUIT BY MATTEL OF DISCOVERY DEMANDS THEY HAD MADE.


  21       WE PUT IT IN THE CONTEXT AND UNDERSTOOD AND BELIEVED


  22   THAT WAS WHAT WE WERE SUPPOSED TO DO, YOUR HONOR; AND


  23   ESPECIALLY BECAUSE NO ARGUMENT HAD BEEN PRESENTED TO THE


  24   DISCOVERY MASTER FOR CONSIDERATION OF WHAT IT WOULD MEAN FOR AN


  25   INDIVIDUAL TO HAVE TO PRODUCE FOR INSPECTION EVERY PERSONAL



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  1    COMPUTER THEY EVER HAVE THAT WOULD COVER ANY ASPECT OF THEIR


  2    PRIVATE LIFE.


  3         THE COURT: I WON'T DISAGREE. BUT YOU KNOW THE


  4    PROCESS. WHEN A JUDGE ISSUES AN ORDER THAT IS OVERBROAD OR


  5    THAT IS RIDICULOUS, FROM YOUR PERSPECTIVE, WHAT DO YOU DO? DO


  6    YOU IGNORE THE ORDER OR DO YOU APPEAL IT OR DO YOU SEEK


  7    CLARIFICATION?


  8         MS. ANDERSON: AGAIN, YOUR HONOR, THERE'S A TIME


  9    ISSUE HERE ABOUT WHEN WE ENTERED THE CASE AND WHEN WE HAD WHICH


  10   ROLES OF APPEALING WHICH ORDERS.


  11        AS FAR AS WE UNDERSTOOD, THAT WAS THE INTENT. AND WE


  12   UNDERSTOOD THAT WHAT WE HAD DONE WAS COMPLY WITH THE ORDER.


  13        THE COURT: IN THE HISTORY THAT YOU'VE APPEARED


  14   BEFORE THIS COURT, HAS THIS COURT EVER DENIED YOU AN


  15   OPPORTUNITY TO ASK THE COURT TO RECONSIDER SOMETHING, TO CHANGE


  16   AN ORDER?


  17        I THINK I'VE DEMONSTRATED THAT, A WILLINGNESS TO


  18   CHANGE ORDERS WHEN SOMETHING HAS BEEN BROUGHT TO MY ATTENTION


  19   THAT MAY BE MISTAKEN.


  20        MS. ANDERSON: YOUR HONOR, AGAIN, I CANNOT SPEAK TO


  21   WHAT MIGHT HAVE GONE ON PRIOR TO OUR ENTERING THE CASE.


  22        THE COURT: I'M TALKING ABOUT WHEN YOU WERE ON THE


  23   CASE. I'LL TALK TO LITTLER MENDELSON IN A FEW MOMENTS. I'M


  24   ASKING ABOUT WHEN YOU WERE IN THIS CASE.


  25        MS. ANDERSON: CERTAINLY, I FEEL FREE AND WOULD BRING



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  1    TO YOUR HONOR'S ATTENTION A REQUEST FOR CLARIFICATION, IF I WAS


  2    CONFUSED. YES, YOUR HONOR.


  3        THE COURT: BUT YOU DIDN'T DO THAT IN THIS CASE,


  4    THOUGH. THIS ORDER DIDN'T JUST -- THIS ORDER HAS BEEN IN


  5    EXISTENCE SINCE JANUARY OF 2007, WHILE YOU'VE BEEN IN THIS


  6    CASE.


  7        MS. ANDERSON: WELL, MY UNDERSTANDING IS TWO PARTS.


  8        FIRST OF ALL, YOUR HONOR, AS FAR AS THE JANUARY 2007


  9    ORDER IS CONCERNED, I DON'T KNOW THAT WE WERE IN THE CASE


  10   DURING WHATEVER THE TIME PERIOD IS THAT ONE CAN --


  11       THE COURT: YOU UNDERSTAND A DISCOVERY OBLIGATION IS


  12   TO BE ONGOING?


  13       MS. ANDERSON: YES, YOUR HONOR. BUT I DO NOT


  14   UNDERSTAND THAT ONE HAS TO -- YOU HAVE ONGOING DISCOVERY


  15   OBLIGATIONS TO RESPOND TO THE PENDING DISCOVERY DEMANDS. BUT


  16   WHEN THE DISCOVERY DEMANDS, FROM OUR UNDERSTANDING, WERE


  17   CABINED BY A DATE LIMITATION, THAT DATE LIMITATION DOESN'T KEEP


  18   GETTING EXTENDED AS THE TIME OF THE CASE GOES FORWARD.


  19       THE COURT: WHERE IN THE MOTION OR IN THE ORDER IS


  20   THERE A DATE LIMITATION?


  21       MS. ANDERSON: THERE'S NOT, YOUR HONOR. IT'S IN A


  22   SEPARATE STATEMENT. AND IT'S ALSO IN THE DOCUMENT DEMANDS


  23   THEMSELVES WHICH UNDERLIE THE MOTION.


  24       THE COURT: ALL RIGHT.


  25       LET ME HEAR FROM COUNSEL FOR LITTLER MENDELSON.



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  1        MR. KRAMER: GOOD MORNING, YOUR HONOR.


  2        THE COURT: CAN YOU ANSWER THE QUESTION OF, WHAT, IN


  3    TERMS OF THE COURT'S UNDERSTANDING OF THE COMPUTERS AT ISSUE,


  4    IS MISTAKEN?


  5        MR. KRAMER: NOTHING THAT I KNOW OF, YOUR HONOR.


  6        BUT I NEED TO QUALIFY THAT BY SAYING THAT WE


  7    UNDERSTOOD THIS MOTION PERTAINED TO THE OCTOBER 2000 DESKTOP


  8    AND THE 2002 LAPTOP. AND LITTLER'S HANDLING OF THOSE, ARE


  9    ADDRESSED IN OUR PAPERS AND IN MR. WICKHAM'S DECLARATION.


  10       THE COURT: LET ME STOP YOU THERE.


  11       IF YOU UNDERSTOOD THAT, THEN WHY DIDN'T YOU PRODUCE


  12   BOTH THOSE HARD DRIVES IMMEDIATELY, WHEN THE ORDER ORDERED YOU


  13   TO DO SO? IF YOU UNDERSTOOD AT LEAST THAT -- BECAUSE I WAS


  14   ACTUALLY GIVING YOU MORE -- I WAS READING YOUR CORRESPONDENCE


  15   AND MR. ZELLER'S CORRESPONDENCE TO SUGGEST THAT YOU GUYS, BOTH


  16   OF YOU, THOUGHT, AT LEAST AT ONE POINT IN TIME, IT ONLY APPLIED


  17   TO THE 2000 DESKTOP.


  18       IF YOU'RE TELLING ME THAT YOU UNDERSTOOD IT TO APPLY


  19   TO THE 2000 DESKTOP AND THE 2001 LAPTOP, WHY DID IT TAKE YOU


  20   UNTIL JULY OF 2007 TO PRODUCE THAT LAPTOP?


  21       MR. KRAMER: I CAN'T SPEAK TO THAT, YOUR HONOR.


  22       WHAT I CAN SPEAK TO, AND WHAT I THOUGHT THE COURT'S


  23   CONCERN WAS, WAS WHETHER THERE WAS SPOLIATION OF EVIDENCE,


  24   WHETHER THERE WAS SOMETHING MISSING, SOME EVIDENCE MISSING.


  25       THE COURT: WE'LL BE GETTING TO THAT IN A FEW



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  1    MOMENTS. BEFORE I CAN GET TO THAT, I HAVE TO FIGURE OUT WHAT


  2    COMPUTERS I HAVE IN QUESTION HERE.


  3        MR. KRAMER: UNDERSTANDABLY SO, YOUR HONOR.


  4        AND AS THE EVIDENCE THAT WE THOUGHT WAS BEFORE THE


  5    COURT AND PUT BEFORE THE COURT TODAY, THE TWO LAPTOPS WERE


  6    IMAGED IN JULY OF 2004; THAT WOULD BE THE 2000 DESKTOP AND THE


  7    2001 LAPTOP. THOSE FULL FORENSIC COMPUTER IMAGES WERE IN THE


  8    POSSESSION OF THE COMPUTER COMPANY THAT DID THE IMAGING FROM


  9    JULY OF 2004, AND, WE BELIEVE, TODAY BUT CERTAINLY THROUGH THE


  10   END OF LITTLER'S INVOLVEMENT IN THIS CASE, SO THAT EVERYTHING


  11   THAT WAS ON THOSE COMPUTERS IN 2004 IS, WE BELIEVE, IN THE


  12   POSSESSION OF THE PARTIES AND NOTHING WAS LOST.


  13       LITTLER DID NOT HAVE PHYSICAL POSSESSION OF THOSE TWO


  14   COMPUTERS, NEVER TOOK POSSESSION OF THOSE COMPUTERS, NOT BEFORE


  15   THEY WERE IMAGED, NOT AFTER THEY WERE IMAGED, UNTIL SEVERAL


  16   YEARS LATER. AND AS MR. WICKHAM INDICATES IN HIS DECLARATION,


  17   THEY GOT POSSESSION BACK AGAIN OF THE -- NOVEMBER OF 2006 IS


  18   WHEN LITTLER ACTUALLY RECEIVED PHYSICAL CUSTODY OF THE COMPACT


  19   LAPTOP COMPUTER, AND RETAINED THAT UNTIL LITTLER TRANSFERRED IT


  20   TO THE KEKER LAW FIRM WHEN THE LITTLER LAW FIRM WITHDREW.


  21       THE COURT: SO IT WAS REALLY THE KEKER LAW FIRM THAT


  22   PRODUCED THAT LAPTOP IN JULY OF 2007? YOU NEVER COMPLIED WITH


  23   THE ORDER TO PRODUCE IT?


  24       MR. KRAMER: I CAN'T SPEAK TO WHETHER IT WAS


  25   COMPLIANCE WITH THE ORDER, YOUR HONOR. I CAN SIMPLY ADDRESS



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  1    THE PHYSICAL FACT THAT IT WAS NOT PRODUCED BY THE LITTLER FIRM.


  2        THE COURT: WHO IN YOUR FIRM COULD SPEAK TO THE


  3    COMPLIANCE ISSUE?


  4        MR. KRAMER: I WOULD ASSUME IT WOULD BE EITHER


  5    MR. JACOBY OR MR. WICKHAM WHO COULD SPEAK TO THAT, YOUR HONOR.


  6        THE COURT: WHAT ABOUT THIS ISSUE ABOUT THE 2004


  7    COMPUTERS?


  8        THE ONE THING THAT WAS LEFT UNSETTLED BY


  9    MS. ANDERSON'S ACCOUNT IS WHETHER THERE WERE TWO OR THREE


  10   COMPUTERS BETWEEN THE 2000, 2001 COMPUTERS AND WHAT WE'RE


  11   REFERRING TO AS THE 2007. AND THERE'S NO DISPUTE THERE WERE


  12   THREE 2007 COMPUTERS.


  13       BETWEEN THAT, WERE THERE TWO, OR WERE THERE THREE?


  14       MR. KRAMER: I CAN'T ADDRESS THAT, AGAIN, YOUR HONOR.


  15   AND I WISH THAT I COULD. BUT I WAS, AGAIN, REVIEWING THE


  16   PAPERS THAT WE LOOKED AT. WE UNDERSTOOD THIS WAS THE MOTION


  17   THAT MATTEL HAD FILED IN JANUARY OF 2008; THAT ADDRESSES THE


  18   THREE COMPUTERS; THE PARENTS' COMPUTER THAT NOBODY HAS ANYMORE,


  19   THE 2001 DESKTOP, AND THE 2002 LAPTOP. WE UNDERSTOOD THAT


  20   THAT'S WHAT THIS MOTION WAS ABOUT AND WHAT THE COURT WAS


  21   CONCERNED WITH. THAT'S WHY WE ADDRESSED THOSE.


  22       I REGRET TO SAY, YOUR HONOR, I CAN'T SPEAK TO THE


  23   2004 COMPUTERS. I CERTAINLY TOOK NOTES OF YOUR HONOR'S


  24   COMMENTS, BUT I CAN'T OFFER ANY INFORMATION TO THE COURT ON


  25   THOSE THIS MORNING.



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  1        THE COURT: LIKE I SAY, IT'S HARD TO GET TO THE ISSUE


  2    OF WHETHER OR NOT THE COURT CAN SATISFY THAT THERE WAS NO


  3    SPOLIATION UNTIL I KNOW THE UNIVERSE OF COMPUTERS THAT ARE OUT


  4    THERE.


  5        MR. KRAMER: I HOPE WE'VE SATISFIED THE COURT, WITH


  6    RESPECT TO THE OCTOBER 2007 DESKTOP AND THE 2001-2002 LAPTOP,


  7    THAT THERE CERTAINLY WAS NO SPOLIATION OF EVIDENCE, CERTAINLY


  8    NOT AS FAR AS LITTLER WAS CONCERNED.


  9        THE COURT: AS FAR AS LITTLER IS CONCERNED, I AM


  10   SATISFIED. THAT'S NOT THE ISSUE.


  11       I DON'T HAVE ANY QUESTIONS ON THAT.


  12       CAN ANYBODY ANSWER THIS QUESTION ABOUT THE NUMBER OF


  13   COMPUTERS FOR CERTAIN, BETWEEN THE 2000, 2001, AND WHAT I'LL


  14   CALL THE 2007 COMPUTERS? CAN ANYONE ANSWER THAT QUESTION AS TO


  15   HOW MANY AND IDENTIFY THE STATUS OF THOSE COMPUTERS?


  16       MS. ANDERSON: YOUR HONOR, AGAIN, MY UNDERSTANDING IS


  17   THAT THERE WERE TWO FROM 2004; THREE LATER; AND THERE'S FIVE IN


  18   EXISTENCE BEYOND THE ONES THAT WERE ALREADY PRODUCED TO MATTEL.


  19       I WASN'T PERSONALLY THERE. I DON'T HAVE PERSONAL


  20   KNOWLEDGE OF THIS. BUT HAVING TRIED TO PIECE TOGETHER THE


  21   HISTORY, REVIEWING ALL OF THESE PAPERS AND DISCUSSING THINGS


  22   AND READING THE TESTIMONY, THAT'S MY UNDERSTANDING.


  23       THE COURT: THAT THERE WERE TWO 2004 COMPUTERS?


  24       MS. ANDERSON: THERE WERE TWO.


  25       AND THE CONFUSION, AGAIN, AS I SAID BEFORE, MAY HAVE



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  1    RESULTED FROM THE FACT THAT MR. BRYANT HELD ON TO THE LAPTOP


  2    COMPUTER FROM 2001 PAST THE POINT THAT THEY HAD BEEN IMAGED;


  3    THAT MAY HAVE ADDED TO SOME CONFUSION ABOUT NUMBERS.


  4           THE COURT: BOTH OF THOSE 2004 COMPUTERS HAVE BEEN


  5    IMAGED?


  6           MS. ANDERSON: YES.


  7           AND WE ALSO BELIEVE WE HAVE THE COMPUTER. WE HAVEN'T


  8    MATCHED IT UP PERFECTLY, BUT WE THINK WE HAVE THE COMPUTER AS


  9    WELL.


  10          THE COURT: VERY GOOD.


  11          LET ME HEAR FROM MATTEL ON THIS.


  12          MR. COREY: A COUPLE OF VERY QUICK COMMENTS,


  13   YOUR HONOR, AND ONE QUESTION.


  14          I THINK, IN ADDITION TO ASKING THE QUESTION ABOUT THE


  15   NUMBER OF COMPUTERS THAT EXIST, IT MAY BE HELPFUL FOR THE COURT


  16   TO ASK THE QUESTION IF THERE ARE IMAGES THAT WERE MADE OF ANY


  17   OF THESE HARD DRIVES AT MULTIPLE TIMES SO THAT MULTIPLE IMAGES


  18   EXIST; BUT I'LL LEAVE THAT TO THE COURT.


  19          ONE THING THAT IS AT LEAST UNCLEAR IN MY NOTES IS


  20   WITH RESPECT TO THE THREE 2007 COMPUTERS. I THINK THE COURT


  21   HAD SAID THAT THOSE WERE IMAGED, AND I BELIEVE, AT LEAST OUR


  22   NOTES SHOW, THAT THOSE WERE NOT IMAGED.


  23          THE COURT: THOSE WERE NOT IMAGED. THAT'S CLEAR AT


  24   THIS POINT; THAT THE 2007 COMPUTERS, THE THREE OF THEM WERE


  25   NOT.



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  1        THE 2004 COMPUTERS, MS. ANDERSON IS TELLING ME THAT


  2    THEY WERE IMAGED. AND THEN THE 2000 AND THE 2001 COMPUTERS, OF


  3    COURSE, WERE IMAGED. AND THE 1998 WAS NOT.


  4        THAT'S MY UNDERSTANDING AT THIS POINT.


  5        I'LL MAKE THIS CONTINUING DIRECTIVE: IF ANYTHING I'M


  6    SAYING IS NOT CORRECT, PLEASE LET ME KNOW. NOW IS THE TIME,


  7    BECAUSE THE COURT WANTS TO MAKE SOME FINDINGS AT THE END OF


  8    THIS HEARING AND THEN MOVE FORWARD, AND I'M GOING TO REST ON


  9    THOSE FINDINGS.


  10       MS. ANDERSON?


  11       MS. ANDERSON: MY UNDERSTANDING IS THAT THE LITTLER


  12   FIRM, IN MARCH OF 2000, TOOK SOME FORMS OF IMAGES. I DON'T


  13   KNOW IF THEY WERE, LIKE, THE ENTIRE COMPUTER OR JUST PARTS OF


  14   THE DRIVE; BUT THAT'S MY UNDERSTANDING.


  15       BUT YOU'RE CORRECT THAT IN 2008, NO IMAGES WERE


  16   TAKEN.


  17       THE COURT: VERY GOOD.


  18       MR. COREY: AND THEN TWO OTHER VERY BRIEF COMMENTS,


  19   ONE OF WHICH DID NOT APPEAR IN OUR PAPERS.


  20       GOING TO THE SCOPE OF THE ORDER THAT JUDGE INFANTE


  21   MADE, AND COUNSEL'S UNDERSTANDING OF THE SCOPE OF THE ORDER,


  22   THE STIPULATION THAT THE COURT REFERENCED ABOUT CONTINUING THE


  23   TIME TO COMPLY, THE PRETEXT FOR THAT, THE JUSTIFICATION FOR


  24   THAT, WAS THAT THERE WERE MATERIALS IN SPRINGFIELD, MISSOURI,


  25   THAT COUNSEL FOR CARTER BRYANT NEEDED TO GO COLLECT. SO THEY



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  1    ASKED FOR, AND WE AGREED TO GIVE THEM UNTIL MARCH 16, 2007, TO


  2    COLLECT THAT INFORMATION.


  3        COUNSEL WAS THERE, ACCORDING TO MR. BRYANT'S


  4    DECLARATION, A COUPLE OF DAYS EARLIER; AND ONE OF THE THINGS


  5    THAT COUNSEL DID ON MARCH 8TH WAS TO COLLECT THE IMAGES OF


  6    THOSE THREE 2004 COMPUTERS. SO THEY WERE ENGAGED IN THE


  7    PROCESS OF COLLECTING THAT INFORMATION, I THINK BY IMPLICATION


  8    TO COMPLY WITH THE COURT'S ORDER, WITH THE DISCOVERY MASTER'S


  9    ORDER; AND AS THE COURT KNOWS, THAT WAS NOT PROVIDED TO US.


  10       THE COURT: I'M NOT SAYING THAT THERE WAS NOT GOOD


  11   CAUSE. AND I ALWAYS ENCOURAGE COUNSEL TO GET TOGETHER AND


  12   REACH AGREEMENTS ON STIPULATIONS, BUT YOU NEVER SUBMITTED AN


  13   APPLICATION OR A STIPULATION TO MODIFY THAT ORDER.


  14       MR. COREY: AND I ACKNOWLEDGE THAT THAT WAS IN ERROR.


  15       WHAT I WAS TRYING TO ADDRESS IS, I THINK LITTLER


  16   MENDELSON UNDERSTOOD THE SCOPE OF THE ORDER, BASED ON THEIR


  17   CONDUCT.


  18       THE COURT: MR. ZELLER WRITES THIS LETTER ON


  19   MARCH 26TH; SO THIS IS SEVERAL WEEKS AFTER THE TIME PERIOD THAT


  20   YOU'RE TALKING ABOUT. AND THIS IS MATTEL THREATENING TO BRING


  21   A MOTION TO COMPEL AND FOR SANCTIONS AS A RESULT, QUOTE, "OF


  22   BRYANT'S FAILURE TO PRODUCE HIS HARD DRIVE," SINGULAR, "AS


  23   ORDERED BY JUDGE INFANTE'S ORDER COMPELLING ITS PRODUCTION."


  24       THEY HADN'T PRODUCED ANYTHING AT THIS POINT.


  25       MR. COREY: CORRECT.



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  1        THE COURT: THEN MR. ZELLER SENDS A LETTER REFERRING


  2    TO A SINGULAR HARD DRIVE. THAT MAKES MR. JACOBY'S RESPONSE, I


  3    THINK, QUITE REASONABLE WHEN HE FIGURES OUT THAT WHAT THEY HAVE


  4    IS THE IMAGE OF THE DESKTOP, NOT THE LAPTOP, AND THEN HE


  5    PROVIDES THAT. AND IN THAT VERY LETTER THAT HE DOES THAT, HE


  6    SAYS, 'WE HAVE A LAPTOP, AND WE HAVE IMAGES OF THESE THREE


  7    OTHER COMPUTERS.'


  8        MR. COREY: I THINK MR. ZELLER WOULD LIKE TO SPEAK TO


  9    THAT.


  10       THE COURT: AND THAT'S THE PART THAT UNDERMINES


  11   MS. ANDERSON'S POSITION THAT THERE WERE ONLY TWO COMPUTERS IN


  12   2004, BECAUSE MR. JACOBY, IN HIS LETTER, SETS APART THE DESKTOP


  13   AND THE LAPTOP AND STILL IS REFERRING TO THREE ADDITIONAL


  14   COMPUTERS. SO THERE IS STILL A MISSING COMPUTER IN ALL OF


  15   THIS. AND I THINK THERE WAS JUST A THIRD 2004 COMPUTER. BUT


  16   THAT'S BASED ON THESE LETTERS.


  17       MR. ZELLER?


  18       MR. ZELLER: AS THE AUTHOR OF THAT LETTER, I THINK


  19   THAT THE EXPLANATION IS SIMPLY THAT DURING THAT TIME PERIOD, I


  20   WAS DEALING WITH A LACK OF CLARITY AS TO, WHAT DID THEY HAVE?


  21   AT VARIOUS POINTS, AS THE COURT IS AWARE, TO THE COURT, LITTLER


  22   MENDELSON REPRESENTED THAT THERE WAS ONLY ONE DRIVE THAT WAS


  23   LOCATED. THERE WAS ALSO ADDITIONAL BACK AND FORTH -- AND I


  24   DON'T KNOW HOW MUCH OF THIS -- I MEAN, I KNOW WE'VE BURDENED


  25   THE COURT WITH A LOT OF PAPER. I DON'T KNOW IF WE'VE BURDENED



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  1    THE COURT WITH ALL OF THE OTHER E-MAILS BACK AND FORTH THAT


  2    MR. JACOBY AND I HAD. BUT THERE WAS A PERIOD OF TIME WHERE HE


  3    WAS TELLING ME THAT, IN FACT, 'THERE WAS ONE THAT I WAS TOLD;


  4    MAYBE THERE'S MORE.' THEN I GET ADDITIONAL E-MAILS, WHERE


  5    MR. JACOBY WAS SAYING, 'WELL, MAYBE WE WERE WRONG THE FIRST


  6    TIME.' I MEAN, THERE WAS A LOT OF BACK AND FORTH.


  7        TO GO TO THE COURT'S POINT, AT ONE POINT I WAS


  8    ESSENTIALLY SAYING, 'LOOK, WE KNOW THAT THERE IS ONE HARD DRIVE


  9    THAT YOU HAVE. AT LEAST GIVE US THAT.'


  10       I MEAN, THERE WERE OTHER ISSUES THAT --


  11       THE COURT: THAT'S NOT WHAT YOU SAID, THOUGH, IN THE


  12   LETTER.


  13       MR. ZELLER: I UNDERSTAND.


  14       THE COURT: OKAY.


  15       I GUESS THE OTHER CONCERN I HAVE, JUST TO WHY WE'RE


  16   SITTING HERE ON THIS PARTICULAR DAY, HAVING THIS PARTICULAR


  17   DISCUSSION -- CERTAINLY, AS OF THE APRIL 23RD LETTER FROM


  18   MR. JACOBY, YOU'RE AWARE OF THE LAPTOP, YOU'RE AWARE OF THE


  19   DESKTOP, AND YOU'RE AWARE OF THE THREE OTHER COMPUTERS.


  20       MR. ZELLER: UH-HUH.


  21       THE COURT: WHERE IS THE MOTION TO COMPEL?


  22       MR. ZELLER: WELL --


  23       THE COURT: THIS DOESN'T COME IN NOW UNTIL -- I GUESS


  24   DECEMBER IS WHEN YOU FILED THIS MOTION?


  25       MR. ZELLER: THAT'S RIGHT.



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  1        ADMITTEDLY, YOUR HONOR, YES, WE WENT THROUGH A


  2    LENGTHY PROCESS. AS THE COURT KNOWS, WE HAD TO BRING, AND DID


  3    BRING, A LOT OF DISCOVERY MOTIONS.


  4        WE ALSO SPENT A LOT OF TIME, IN ADVANCE OF THOSE


  5    MOTIONS -- I MEAN, WE DIDN'T HAVE A HAIR TRIGGER ON THESE. WE


  6    SPENT A LOT OF TIME TALKING WITH THE OTHER SIDE, TRYING TO


  7    ADDRESS THEIR CONCERNS, PARTICULARLY ON ISSUES LIKE THE HARD


  8    DRIVES. AND AS MS. ANDERSON POINTED OUT, THERE WERE ISSUES --


  9    AND THESE WERE VOLUNTARILY RESOLVED -- ON MATTEL'S PART, AS TO


  10   THE OTHER TWO HARD DRIVES, BECAUSE THERE WERE CERTAIN CONCERNS


  11   THAT WERE EXPRESSED ABOUT THEM. AND WE RESOLVED THOSE. WE


  12   DIDN'T HAVE TO. WE COULD HAVE SIMPLY SAID, 'LOOK, THE COURT'S


  13   ORDER IS THE COURT'S ORDER.' BUT WE DIDN'T WANT TO BURDEN THE


  14   COURT WITH YET MORE MOTION PRACTICE ON WHAT EXACTLY THE SCOPE


  15   OF THAT SHOULD BE AND EXACTLY HOW THIS SHOULD BE DEALT WITH, SO


  16   WE PRIORITIZED THESE THINGS.


  17       THE COURT: AND THAT'S FINE.


  18       I GUESS WHAT I TAKE ISSUE WITH IS, IN YOUR PAPERS,


  19   THE ONES FILED IN DECEMBER, AND THEN AGAIN IN THE MOTION


  20   IN LIMINE, YOU MAKE IT APPEAR AS THOUGH CARTER BRYANT AND


  21   CARTER BRYANT'S COUNSEL ARE NOT BEING FORTHRIGHT IN THEIR


  22   DISCUSSION OF THESE COMPUTERS. YOU REPEATEDLY MAKE THIS


  23   ALLEGATION.


  24       HERE YOU HAVE A LETTER IN APRIL OF 2007 IN WHICH


  25   MR. JACOBY IS TELLING YOU, 'HEY, THERE'S OTHER COMPUTERS.



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  1    THERE'S THE LAPTOP, THERE'S THE DESKTOP, AND THERE'S THESE


  2    OTHER COMPUTERS.'


  3        SO WHEN YOU FIND OUT, THEN, IN 2008 FROM


  4    MR. CARTER BRYANT THAT, YEAH, HE HAS THESE THREE 2007


  5    COMPUTERS, THAT SHOULDN'T BE ALL THAT MUCH OF A SURPRISE.


  6        MR. ZELLER: IT'S NOT NECESSARILY -- AND I DO


  7    APOLOGIZE FOR THE RHETORIC, YOUR HONOR. OBVIOUSLY, THIS WAS


  8    SOMETIME AGO. I DON'T HAVE FIRMLY IN MIND, PERHAPS, ALL OF THE


  9    VERBIAGE THAT WAS USED.


  10       THE COURT: YOU DIDN'T WRITE THESE BRIEFS.


  11       MR. ZELLER: NO.


  12       AND WHAT I WOULD SAY IS THIS, YOUR HONOR: THERE WAS


  13   AN OVERLAY THAT WE ALSO WERE DEALING WITH IN TERMS OF THE


  14   ADDITIONAL HARD DRIVES. THE COURT WILL RECALL AND HAD MADE


  15   REFERENCE TO THE FACT THAT JUDGE INFANTE ALSO ISSUED AN ORDER


  16   THAT ALLOWED FOR BASICALLY A THIRD TIER, FOR THE PROTECTIVE


  17   ORDER.


  18       THE COURT: YES.


  19       MR. ZELLER: AND CARTER BRYANT'S COUNSEL WAS TAKING


  20   THE POSITION THAT BECAUSE OF THAT, THEY DID NOT HAVE TO PROVIDE


  21   THE HARD DRIVES. PART OF THAT WAS A TIMING ISSUE, BECAUSE THEY


  22   WERE SAYING, WELL, THERE WERE THINGS ON THIS HARD DRIVE THAT --


  23   BECAUSE THEY RELATED TO WHAT WOULD BE UPCOMING 2008, BACK IN


  24   2007, THAT WE WEREN'T ENTITLED TO THEM AT THAT POINT; SO THERE


  25   WAS A TIMING ISSUE THAT OVERLAID THOSE OTHER DRIVES.



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  1         AND THAT'S PART, TOO, OF WHY, IN TERMS OF


  2    PRIORITIZING THE DRIVES, SAYING, 'WELL, GIVE US THE FIRST TWO,'


  3    AND TRYING TO WORK OUT THE ADDITIONAL ISSUES ON THE OTHERS --


  4    THAT IS WHY IT TOOK SOME PERIOD OF TIME.


  5         BUT I DON'T THINK THERE'S ANY DISPUTE, YOUR HONOR,


  6    THAT WE DID MAKE AN EFFORT TO RESOLVE THE ISSUE. WE MADE AN


  7    EFFORT TO GET THOSE DRIVES AND WE DIDN'T GET THEM AND WE


  8    BROUGHT A MOTION. WE THINK WE'RE ENTITLED TO COMPLIANCE WITH


  9    THAT.


  10        AND WITHOUT ATTEMPTING TO CAST ASPERSIONS ON ANYONE


  11   AT THIS POINT, AS THE COURT IS AWARE, THERE, EVEN TO THIS DAY,


  12   HAS BEEN A FAIR AMOUNT OF CONFUSION ABOUT WHAT DRIVES THERE


  13   ARE, WHAT TIME PERIODS THERE ARE, AND WHAT IMAGES EXIST. SO I


  14   WOULD AT LEAST HOPE THAT THE COURT WOULD RECOGNIZE THAT THERE


  15   HAS BEEN -- WHETHER IT WAS MISCOMMUNICATION, WHETHER IT WAS


  16   MISINFORMATION -- INADVERTENCE, THAT WE WERE, OF COURSE,


  17   DEALING WITH, FROM OUR PERSPECTIVE, SOMETHING OF A MOVING


  18   TARGET.


  19        THE COURT: ALL RIGHT.


  20        MR. NOLAN, ANYTHING FROM MGA'S PERSPECTIVE ON THIS?


  21        MR. NOLAN: I DON'T THINK WE HAVE A DOG IN THE FIGHT


  22   HERE ON THIS ONE.


  23        THANK YOU.


  24        THE COURT: FAIR ENOUGH.


  25        LET'S MOVE ON TO THE ISSUE OF SPOLIATION.



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  1        THIS IS ANOTHER RELATED ISSUE IN WHICH A LOT OF


  2    ALLEGATIONS HAVE GONE BACK AND FORTH.


  3        IT'S CLEAR TO THE COURT -- I DON'T NEED TO HAVE THIS


  4    ARGUMENT REPEATED BY EITHER SIDE -- THAT ANY DELETIONS OF FILES


  5    TOOK PLACE ON THESE COMPUTERS BY SOMEBODY, AND THAT ALL THAT


  6    EVIDENCE ELIMINATOR DID -- I SAY "ALL," BUT WHAT EVIDENCE


  7    ELIMINATOR DID WHEN IT WAS RUN THAT WOULD BE RELEVANT TO THE


  8    ISSUE OF SPOLIATION IS TO REPLACE THE FILE NAMES WITH SOME KIND


  9    OF GIBBERISH.


  10       IT APPEARS FROM THE RECORD -- ALTHOUGH I'M NOT


  11   CERTAIN OF THIS, AND I'LL CERTAINLY ENTERTAIN FURTHER


  12   ARGUMENT -- THAT THE EVIDENCE ELIMINATOR PROGRAM THAT DID THAT


  13   FUNCTION -- NOT DELETE FILES, BUT DELETED THE FILE NAMES FOR


  14   ALREADY DELETED FILES -- WAS RUN WITHIN A DAY OR TWO OF IMAGING


  15   OF ONE OR BOTH OF THE 2000, 2001 COMPUTERS.


  16       THAT AND THAT ALONE IS THE COURT'S CONCERN ABOUT


  17   EVIDENCE ELIMINATOR. AND THAT'S THE POINT THAT I WOULD LIKE


  18   ADDRESSED BY WHOEVER WISHES TO ADDRESS IT.


  19       MR. KENNEDY: RAOUL KENNEDY ON BEHALF OF MGA.


  20       AND I CAN PUT THIS IN THE FORM OF AN OFFER OF PROOF.


  21   WE DO HAVE WITNESSES HERE TODAY IN ANTICIPATION OF A HEARING.


  22       THE COURT: YES.


  23       MR. KENNEDY: I THINK WHAT'S SIGNIFICANT IS THAT


  24   MR. BRYANT BOUGHT A DESKTOP IN LATE 2000, RIGHT AFTER HE LEFT


  25   MATTEL. WE THEN GO ALL OF THE WAY OVER TO NOVEMBER OF 2001,



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  1    WHEN HE BUYS A LAPTOP. AS I UNDERSTAND IT, THOSE ARE THE TWO


  2    COMPUTERS WHOSE HARD DRIVES HAVE BEEN IMAGED.


  3            THE COURT: YES.


  4            MR. KENNEDY: MR. BRYANT WILL TESTIFY THAT HE DID NOT


  5    DOWNLOAD ANYTHING FROM ANY COMPUTER HE HAD AT MATTEL ONTO THE


  6    COMPUTER HE BOUGHT THE DAY AFTER HE STOPPED WORKING THERE.


  7    HE'LL ALSO TESTIFY HE DIDN'T TRANSFER ANYTHING FROM THE DESKTOP


  8    THAT HE BOUGHT IN LATE 2000 ONTO THE LAPTOP THAT HE BOUGHT IN


  9    2001.


  10           OUR FORENSIC EXPERT WILL CORROBORATE THE LATTER POINT


  11   BY SAYING HE'S CHECKED THE FILES ON THE DESKTOP AND LAPTOP, THE


  12   HARD DRIVE IMAGES, AND THERE ISN'T ANY OVERLAP.


  13           HE ALSO WILL TESTIFY THAT ON THE DESKTOP,


  14   EVIDENCE ELIMINATOR COULD, AT MOST, HAVE FUNCTIONED FOR FIVE


  15   DAYS IN JULY OF 2002. I THINK ALL OF THE EXPERTS WILL AGREE,


  16   ON THE DESKTOP, INSTALLATION OCCURS ON JULY 24TH. THE LAST DAY


  17   THAT EVIDENCE ELIMINATOR COULD HAVE BEEN USED TO OVERWRITE ANY


  18   FILES ON THE DESKTOP IS JULY 29TH. AND THERE'S NO INDICATION


  19   THAT IT WAS EVEN USED IN-BETWEEN.


  20           SO I SUBMIT, WHEN IT COMES TO SPOLIATION, THE FOCUS


  21   IS ON THE LAPTOP, WHICH IS THE COMPUTER YOU'VE REFERRED TO,


  22   THAT WAS ACCESSED IN JULY OF 2004.


  23           THE POINT IS, NOTHING FROM MATTEL MADE IT ONTO THE


  24   DESKTOP; NOTHING FROM THE DESKTOP MAKES IT ONTO THE LAPTOP.


  25   EVIDENCE ELIMINATOR ISN'T EVEN HOOKED UP ON THE LAPTOP UNTIL



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  1    SEPTEMBER OF 2002, AND IT'S USED THEREAFTER ON IT.


  2        COMING UP TO THE SEQUENCE IN JULY OF 2004,


  3    SOMEBODY -- AND WE DON'T KNOW WHO -- THIS COMPUTER, THE LAPTOP,


  4    WAS IN MR. BRYANT'S POSSESSION, UNLIKE THE DESKTOP, WHICH WAS


  5    THEN IN HIS NIECE'S POSSESSION -- SOMEBODY -- AND I THINK THE


  6    COURT WOULD BE FULLY JUSTIFIED IN FINDING IT WAS MR. BRYANT --


  7    USED THE SAFE SHUTDOWN MODE ON THAT DAY, 27TH, 28TH, WHATEVER


  8    IT IS. THE EFFECT OF THAT WAS TO RENAME 9,400 FILES OR FOLDERS


  9    WHICH HAD PREVIOUSLY BEEN DELETED.


  10       NOW, 9,400, WHEN I FIRST HEARD ABOUT THIS, SOUNDED


  11   LIKE A BIG NUMBER TO ME. OUR FORENSIC EXPERT WILL TESTIFY THAT


  12   THE 9,400 COULD HAVE BEEN DELETED FILES THEMSELVES AT ANY


  13   POINT. IN ADDITION, THERE'S A SUBSTANTIAL POSSIBILITY THAT ALL


  14   OR NEARLY ALL OF THEM WERE DELETED BY THE COMPUTER ITSELF.


  15   WHAT HE WILL TELL YOU IS, HE TOOK ANOTHER COMPUTER WITH AN XP


  16   OPERATING SYSTEM, HOOKED UP THE SAME MODEL OF EVIDENCE


  17   ELIMINATOR, AND JUST BROWSED --


  18       THE COURT: THIS IS THE NEGATIVE THAT'S IMPOSSIBLE TO


  19   PROVE. IT'S THE TIMING THAT I'M CONCERNED ABOUT. IT'S THE


  20   FACT THAT THIS ACTION TOOK PLACE. AND I DO PRESUME THAT IT WAS


  21   MR. BRYANT. BASED ON THE PREPONDERANCE OF THE CLEAR AND


  22   CONVINCING EVIDENCE BEFORE ME, THAT IT WAS MR. BRYANT WHO RAN


  23   THE EVIDENCE ELIMINATOR. AND IT'S THE TIMING OF THAT RUNNING,


  24   IN CONNECTION WITH THE IMAGING THAT WAS DONE A DAY OR TWO


  25   LATER.



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  1        MR. KENNEDY: UNDERSTOOD, YOUR HONOR.


  2        AND IF WE WERE IN PHASE TWO OF THIS TRIAL, I THINK


  3    THIS MIGHT BE A CLOSER CALL, BUT WE'RE TALKING ABOUT DELETION


  4    OF FILE NAMES IN 2004 ON A COMPUTER FOR WHICH THERE'S NO DIRECT


  5    CONNECTION BACK TO ANYTHING THAT WAS HAPPENING.


  6        THE COURT: AND YOU RAISE A VERY GOOD POINT THERE.


  7        SO THE QUESTION OF WHETHER OR NOT THERE WOULD BE


  8    DOCUMENTS THAT WOULD BE ADMISSIBLE IN PHASE 1-A OR 1-B IS FAR


  9    LESS LIKELY THAN THERE WOULD BE DOCUMENTS RELATED TO THE TRADE


  10   SECRET CLAIMS, ET CETERA, IN PHASE TWO.


  11       BUT THE BASIS UPON WHICH MATTEL IS SEEKING THIS, AND


  12   THE ONLY BASIS THAT I WOULD ADMIT IT IN PHASE 1-A, WOULD BE AS


  13   EVIDENCE OF CONSCIOUSNESS OF GUILT, OF CREDIBILITY.


  14       THE QUESTION THAT I KEEP COMING TO -- AND I'VE GONE


  15   BACK AND FORTH PROBABLY A DOZEN TIMES THIS WEEKEND IN MY OWN


  16   MIND -- IS WHETHER OR NOT A JURY SHOULD HEAR THAT THIS WAS


  17   DONE, FOR PURPOSES OF CREDIBILITY.


  18       THERE'S NO CONNECTION TO MGA IN THIS. AND THE COURT


  19   WOULD CERTAINLY INSTRUCT THE JURY THAT SUCH A CONNECTION WOULD


  20   BE IMPROPER. THE ONLY EVIDENCE ON THIS IS, IN MY MIND,


  21   CONNECTED TO CARTER BRYANT. BUT THAT HE DID THIS -- AND HAVING


  22   REVIEWED THE REPORTS -- AND MY UNDERSTANDING OF THE EXPERTS IS


  23   THAT YOU DO HAVE TO AFFIRMATIVELY TAKE THIS STEP TO DO THIS


  24   SAFE SHUTDOWN, OR CALL IT WHATEVER WE WANT. EVERYONE HAS


  25   DIFFERENT WAYS OF CHARACTERIZING WHAT TOOK PLACE HERE. I



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  1    REALLY STRUGGLE WITH THE IDEA OF KEEPING THAT AWAY FROM THE


  2    JURY, BECAUSE OF WHAT IT SHOWS. TO RUN SOMETHING LIKE THIS,


  3    RIGHT BEFORE THE IMAGING, THAT'S PRETTY POWERFUL IMPEACHMENT


  4    EVIDENCE.


  5         MR. KENNEDY: YOUR HONOR, YOU WEREN'T THE ONLY ONE


  6    WHO WAS WRESTLING WITH THAT ISSUE OVER THE WEEKEND. LET ME TRY


  7    TO PLAY MIND READER FOR A SECOND AND SUGGEST WHAT ELSE WE WOULD


  8    BE PREPARED TO OFFER HERE THIS MORNING THAT I THINK BEARS


  9    DIRECTLY ON THAT.


  10        FIRST, I THINK WE ALL -- WHEN WE HEAR THE WORDS


  11   "EVIDENCE ELIMINATOR," THAT DOESN'T SOUND GOOD. OBVIOUSLY,


  12   THEY HAD A FOCUS GROUP WHO TOLD THEM IT'S DYNAMITE, OR WE


  13   WOULDN'T BE GOING THROUGH ALL OF THIS.


  14        THE COURT: AND IT'S A GOOD POINT. AND MY THOUGHT ON


  15   THAT IS, YEAH, I UNDERSTAND THAT IT SOUNDS BAD. BUT THAT GOES


  16   INTO THE WHOLE CONSCIOUSNESS OF GUILT. WHO GOES OUT AND BUYS


  17   SOMETHING CALLED "EVIDENCE ELIMINATOR"? AND HE BUYS IT AT A


  18   TIME -- AND YOU HAVE MADE THIS POINT, MGA HAS MADE THIS POINT,


  19   OVER AND OVER AGAIN, THAT THE RUMORS ARE ALL SWIRLING AROUND


  20   ABOUT, IS THIS A COPYRIGHT INFRINGEMENT OF TOON TEENS, AND WHO


  21   DID THIS, AND WHO INVENTED IT? AND CONSISTENT WITH ALL


  22   THESE -- KIND OF WHAT'S GOING ON AT THIS TIME PERIOD -- I


  23   UNDERSTAND A CASE HASN'T BEEN FILED, BUT YOU HAVE BEEN URGING


  24   THIS COURT, ON THE STATUTE OF LIMITATIONS ISSUE, TO FIND THAT


  25   AS EARLY AS 2000, THAT MATTEL SHOULD HAVE KNOWN THAT CARTER



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  1    BRYANT HAD INFRINGED ON THEIR TOON TEENS COPYRIGHT, OR WHAT


  2    HAVE YOU.


  3        MR. KENNEDY: YOUR HONOR, IF I MIGHT.


  4        AGAIN, I SPENT SOME TIME ON THIS ONE AS WELL.


  5        FIRST, ON THE LAPTOP, EVIDENCE ELIMINATOR GETS


  6    INSTALLED IN OCTOBER OF 2002. AND I SUBMIT, THAT'S ABOUT AS


  7    CLOSE AS WE CAN COME IN TERMS OF HAVING A DATE THAT'S BOTH TOO


  8    LATE AND TOO EARLY, IN TERMS OF MR. BRYANT, BY 2002, IS


  9    SUPPOSED TO BE SUSPECTING SOMETHING -- THAT MATTEL IS GOING TO


  10   SUE HIM FOR -- THAT MATTEL SAYS THEY AREN'T GOING TO LEARN


  11   ABOUT UNTIL LATER IN 2003.


  12       BUT IN ADDITION, WHAT IS THERE, EVEN ON THE LAPTOP BY


  13   THAT POINT -- BUT HERE'S THE POINT, IN TERMS OF AN OFFER OF


  14   PROOF, YOUR QUESTION, WHY WOULD SOMEBODY BUY THIS?


  15       IN HIS DEPOSITION, MR. BRYANT WAS ASKED WHY, AND HE


  16   SAID, 'I WANTED TO SPEED UP MY COMPUTER. I WAS HAVING PROBLEMS


  17   WITH POP-UPS.' AND THAT APPEARS TWO OR THREE TIMES.


  18       INCREDIBLY, IN THIS CASE, THERE'S A QUESTION THAT


  19   WASN'T ASKED. NOBODY FOLLOWED UP AND SAID, 'AND WHAT WERE THE


  20   DETAILS OF THOSE POP-UPS?' MR. BRYANT, IF CALLED THIS MORNING,


  21   WILL TESTIFY THAT THEY DEALT WITH SEXUALLY-EXPLICIT MATERIAL,


  22   AND HE WAS HAVING A PROBLEM WHEN HE LOGGED ON TO HIS COMPUTER;


  23   THAT HE WAS GETTING AS MANY AS FIVE OR SIX POP-UPS BEFORE HE


  24   COULD ACCESS WHAT WAS GOING ON; AND THAT SOME OF THEM WERE,


  25   LET'S SAY, ADULT MATERIAL, WOULD BE THE UNDERSTATEMENT.



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  1         THIS IS AT A POINT -- OCTOBER. HE'S MOVED BACK TO


  2    MISSOURI. HE'S IN THE SAME TOWN WITH HIS FOLKS AND OTHER


  3    RELATIVES WHO ARE COMING TO VISIT HIM. HE'S CONCERNED THEY MAY


  4    WANT TO USE HIS COMPUTER; THEY MAY EVEN BE STANDING BEHIND HIM


  5    WHEN HE LOGS ON. SO IN TERMS OF WHY WAS EVIDENCE ELIMINATOR


  6    BOUGHT, HE'LL TELL YOU, AS HE DID IN HIS DEPOSITION -- AGAIN,


  7    IT MAY HAVE BEEN CLINTON-ESQUE. HE DIDN'T VOLUNTEER A LOT OF


  8    ADDITIONAL MATERIAL. I THINK THE COURT CAN UNDERSTAND WHY,


  9    UNDER THOSE CIRCUMSTANCES, THAT HE WOULDN'T HAVE ANSWERED THE


  10   QUESTION MR. QUINN DIDN'T ASK. BUT THE TESTIMONY HERE WILL BE,


  11   THERE WAS SEXUALLY-EXPLICIT POP-UPS AND OTHER MATERIAL ON THAT


  12   COMPUTER, AND THAT'S WHY EVIDENCE ELIMINATOR, AS OPPOSED TO THE


  13   OTHER KINDS OF PROGRAMS THAT SOMEBODY COULD HAVE CHOSEN, WAS


  14   SELECTED. AND AGAINST THAT, I DON'T THINK IT TAKES A LOT TO


  15   PUT TWO AND TWO TOGETHER AND SAY, 'YEP, MR. BRYANT, WHEN HE


  16   HEARD THAT A THIRD-PARTY STRANGER WAS COMING TO VIEW HIS


  17   COMPUTER, AT LEAST TURNED IT ON TO CHECK AND SEE WHAT WAS


  18   HAPPENING.'


  19        THE COURT: LET'S SAY I FULLY ACCEPT AND FULLY CREDIT


  20   THAT TESTIMONY. NOW LET'S FAST FORWARD TO 2004, TWO DAYS


  21   BEFORE IT'S GOING TO BE IMAGED. WHY DOES HE RUN IT THEN?


  22        HE'S BACK HERE IN CALIFORNIA, RIGHT, IN 2004?


  23        MR. KENNEDY: CORRECT.


  24        THE COURT: HE DOESN'T HAVE ANY RELATIVES IN MISSOURI


  25   WHO'S GOING TO STOP IN ON HIS COMPUTER. WHY IS HE RUNNING IT



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  1    THEN?


  2         MR. KENNEDY: HAVING DONE A NUMBER OF THESE CASES,


  3    I'VE NEVER HEARD OF ANYBODY WHO DIDN'T AT LEAST CHECK THEIR


  4    COMPUTER BEFORE IT WAS BEING IMAGED. SO FAR I HAVEN'T HAD THE


  5    LUCK OF GETTING ONE THAT DIDN'T HAVE SOMETHING DELETED, WITH


  6    PEOPLE SAYING, 'THERE WERE PICTURES OF A GIRLFRIEND,' OR 'THERE


  7    WAS TAX INFORMATION.'


  8         THE COURT: I CAN UNDERSTAND, PERHAPS, DELETING A


  9    PICTURE OF A GIRLFRIEND FROM A COMPUTER. I'M ASKING, WHY DID


  10   HE RUN EVIDENCE ELIMINATOR AND HAVE ALL OF THE FILES THAT HAD


  11   BEEN PREVIOUSLY DELETED RENAMED, A DAY BEFORE OR TWO DAYS


  12   BEFORE IT IS IMAGED? THAT'S THE QUESTION.


  13        I HAVEN'T GOTTEN PAST THAT.


  14        MR. KENNEDY: FIRST, YOUR HONOR, MY HAND WAS POINTED.


  15   I MADE A MISTAKE. HE IS STILL IN MISSOURI IN 2004, WHEN THE


  16   IMAGING OCCURS.


  17        THE COURT: OH, THAT'S RIGHT. BECAUSE YOU WENT TO


  18   MISSOURI TO GET THE -- WELL, NOT YOU, BUT LITTLER MENDELSON


  19   WENT TO MISSOURI.


  20        MR. KENNEDY: IT WAS DONE AT HIS HOUSE. THEY EVEN


  21   BROUGHT THE NIECE'S COMPUTER OVER. SO THE CONCERNS ABOUT


  22   FRIENDS, ET CETERA -- AND, AGAIN, I DON'T WANT TO INVADE HIS


  23   PRIVACY COMPLETELY, BUT WE ARE TALKING ABOUT SOMEBODY WITH AN


  24   ALTERNATIVE SEXUAL LIFESTYLE, WITH SOME CONSERVATIVE PARENTS,


  25   AS I UNDERSTAND IT. THERE'S A LOT GOING ON THERE. FOR ME TO



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  1    GET THERE, MAYBE THE COURTROOM OUGHT TO BE SEALED, IF YOUR


  2    HONOR IS REALLY CONCERNED.


  3        BUT TAKING A 403 BALANCE WITH THE OBVIOUSLY


  4    INSCINDIARY EFFECT OF EVIDENCE ELIMINATOR -- I MEAN, THEY ARE


  5    WORDS LIKE "ABORTION," THAT ONCE THEY GET OUT, YOU CAN'T JUST


  6    TELL THE JURY TO UNRING THE BELL. AND THE EFFECT THAT'S GOING


  7    TO HAVE AS AGAINST THE LIKELIHOOD THAT AT THAT POINT IN TIME,


  8    GIVEN THE MULTIPLE STEPS WITH THE COMPUTERS THAT THERE'S


  9    GOING -- HE'S GOT DRAWINGS OF BRATZ IN 1999 THAT WEREN'T ON HIS


  10   DESKTOP, HAVEN'T BEEN FOUND SOMEPLACE ELSE. THE ONLY THING


  11   MATTEL HAS EVER SUGGESTED MIGHT BE MISSING ARE E-MAILS.


  12       NOW, E-MAILS, BY DEFINITION, THERE'S AT LEAST ONE


  13   OTHER PERSON INVOLVED. SO AFTER THE DISCOVERY THAT'S TAKEN


  14   PLACE IN THIS CASE, IS THERE ANYBODY THAT MR. BRYANT COULD


  15   POSSIBLY HAVE SENT AN INCRIMINATING E-MAIL TO THAT WOULD HAVE


  16   HAD TO HAVE GONE ON HIS LAPTOP SOMETIME AFTER 2001. THE


  17   RECIPIENT'S E-MAILS HAVEN'T BEEN DISCOVERED --


  18       THE COURT: YOU'RE ON WEAKER GROUND ON THIS PART,


  19   COUNSEL, BECAUSE I DO ACCEPT THE ARGUMENT THAT THERE'S --


  20   PARTICULARLY, WITH RESPECT TO PHASE B, BUT EVEN POTENTIALLY


  21   WITH RESPECT TO PHASE ONE -- WITH RESPECT TO PHASE TWO, THE


  22   SECOND TRIAL, THE CONCERN ABOUT TRADE SECRETS.


  23       THIS IS DELETED FILES, AND THIS IS JUST A HARD


  24   NEGATIVE TO PROVE. I'D BE MORE INTERESTED IN THE RESPONSE,


  25   HOWEVER, TO YOUR 403 ANALYSIS.



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  1        MR. KENNEDY: YOUR HONOR, EVEN IF I MIGHT, THE COURT


  2    JUST DID IT. YOU SAID 'DELETED FILES.' AND THAT'S WHAT THIS


  3    JURY IS GOING TO THINK WHEN THEY HEAR IT. AND WE'RE NOT


  4    TALKING ABOUT DELETING FILES.


  5        THE COURT: YES, WE ARE. WE'RE TALKING ABOUT DELETED


  6    FILES THAT WERE THEN RENAMED.


  7        THE PROBLEM HERE IS THAT IF THE FILES WERE JUST


  8    DELETED BUT THE NAMES REMAINED, ARGUABLY FORENSIC ANALYSIS


  9    COULD GO BACK AND RECONSTITUTE, OR LEAST HAVE A BASIS FOR


  10   MATTEL -- I MEAN, PART OF YOUR ARGUMENT, TOWARDS THE END, WHEN


  11   YOU GET INTO THE PREJUDICIAL ANALYSIS, IS THAT THEY GOT ALL


  12   THESE FILES AND THEY GOT ALL THESE E-MAILS FROM OTHER SOURCES.


  13   AND IF THE NAMES OF THE FILES WERE STILL THERE AND WERE


  14   FORENSICALLY RECOVERABLE, THEN PERHAPS MATTEL COULD SIT DOWN


  15   AND COMPARE, 'OKAY, WELL THAT'S THE E-MAIL, OR THAT WAS THE


  16   DRAWING, OR THAT WAS THE CREATION OF THIS; WE ALREADY HAVE THAT


  17   FROM SOME OTHER SOURCE.'


  18       BUT THAT'S THE BEAUTY OF EVIDENCE ELIMINATOR, IS THAT


  19   IT SCRAMBLES THOSE FILE NAMES, SO THAT THE PARTY THEN RECEIVING


  20   THE HARD DRIVE, THEY HAVE NO IDEA WHAT FILES MIGHT HAVE


  21   EXISTED. WHAT IT DOES IS, IT PERFECTS THE DELETION; IT TAKES


  22   THE DELETION TO A HIGHER LEVEL.


  23       SO, YES, WE ARE TALKING ABOUT DELETED FILES.


  24       I UNDERSTAND THE DELETIONS TOOK PLACE EARLIER. I


  25   UNDERSTAND THAT THE DELETIONS WERE NOT DONE BY EVIDENCE



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  1    ELIMINATOR. BUT EVIDENCE ELIMINATOR, AS I UNDERSTAND IT -- AND


  2    I THINK THE EXPERTS ARE IN AGREEMENT ON THIS -- REPLACES THE


  3    FILE NAMES WITH A SCRAMBLED WORD WHERE IT MAKES NO SENSE


  4    WHATSOEVER.


  5         MR. KENNEDY: ABSOLUTELY SO.


  6         MY CONCERN, THOUGH, IS THAT THIS CARRIES WITH IT THE


  7    IDEA THAT CARTER BRYANT WENT DOWN, 'OH, I'LL GET RID OF THIS


  8    FILE, GET RID OF THAT FILE, GET RID OF THIS FILE'; THAT THERE


  9    WAS A CONSCIOUS DECISION. AND HOW DOES ANYBODY HAVE 9,400


  10   FILES THEY NEED TO GET RID OF?


  11        BUT THERE'S MORE THAN THAT, YOUR HONOR. AND, AGAIN,


  12   IN KEEPING WITH THE ORDER OF PROOF, OUR FORENSIC EXPERT, AS I


  13   SAY, GOT A SIMILAR OPERATING SYSTEM, ET CETERA, AND JUST SURFED


  14   THE NET FOR 20 MINUTES, GETTING COOKIES AND EVERYTHING ALONG


  15   THE WAY, AND THEN HE PUSHED THE SAFE SHUTDOWN BUTTON ON THE EE


  16   PROGRAM. HE HAD ACCUMULATED 5,000 FILES DURING THAT PROCESS.


  17   AND THESE WERE ALL FILES THAT THE COMPUTER CREATED. HE DIDN'T


  18   PUT ANYTHING IN THE WASTEBASKET. THESE ARE ALL, THEN, FILES


  19   THAT ARE IN TEMPORARY HOLD, AND THAT'S WHAT GOT DELETED.


  20        SO, AGAIN, TRYING TO PUT 9,400 IN CONTEXT, THE


  21   MACHINE ITSELF GENERATES THOUSANDS AND THOUSANDS OF FILES IN


  22   JUST A MATTER OF MINUTES, AND THE MACHINE ITSELF, AS WE KNOW,


  23   GOES AHEAD AND DELETES A LOT OF THOSE ON ITS OWN. SO WE HAVE


  24   NO WAY OF KNOWING HOW MANY OF THOSE 9,400 WERE MACHINE-DELETED.


  25        THERE'S NO TESTIMONY HERE THAT MR. BRYANT CONSCIOUSLY



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  1    WENT THROUGH AND PUT ANY OF THOSE IN THE WASTEBASKET.


  2        NOW, YOUR HONOR WILL COME BACK, QUITE CORRECTLY, AND


  3    SAY, 'YEAH, BUT, KENNEDY, THAT'S THE PROBLEM. WE CAN'T TELL.


  4    AND THE REASON IS BECAUSE IT WAS EVIDENCE ELIMINATOR.' AND


  5    THIS IS WHERE THE TOUGH 403 DECISION IS.


  6        UNLIKE EVERYBODY ELSE IN THIS CASE, I DON'T GET EASY


  7    MOTIONS. MINE ARE CLOSE. NOTHING IS PATENTLY CLEAR ON THE


  8    THINGS I'VE WORKED ON IN THIS CASE. AND THIS ONE IS AN


  9    ULTIMATE DISCRETION CALL. AND I'M SURE OUR APPELLATE LAWYERS


  10   WILL GO CRAZY WHEN I SAY THAT ON THE RECORD. BUT IT'S JUST


  11   BALANCING OF WHAT'S GOING TO BE THE IMPACT OF


  12   EVIDENCE ELIMINATOR AND 9,400 -- WELL, THEY WEREN'T FILES, BUT


  13   THEY WERE ACTUALLY NAMES -- VERSUS WHAT'S THE LIKELIHOOD --


  14   GIVEN WHAT COMPUTERS GENERATE AND GET RID OF THEMSELVES, PLUS


  15   THE POINT IN TIME THAT THIS TOOK PLACE, PLUS THE LACK OF ANY


  16   DIRECT CONTACT WITH THAT COMPUTER GOING BACK.


  17       THE COURT: THANK YOU, MR. KENNEDY.


  18       LET ME HEAR FROM MATTEL.


  19       MR. COREY: THANK YOU, YOUR HONOR.


  20       LET ME START WITH, I THINK, SOMETHING THAT IS A


  21   LITTLE BIT MORE NUANCE WITH RESPECT TO EVIDENCE ELIMINATOR THAN


  22   THE COURT ARTICULATED. AND I'LL DO THIS IN THE FORM OF A


  23   PROFFER.


  24       AS MR. KENNEDY, WE DO HAVE OUR EXPERT WITNESS HERE,


  25   MR. MENZ.



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  1         NOT ONLY DOES EVIDENCE ELIMINATOR SCRAMBLE THE FILE


  2    NAMES, AS THE COURT CORRECTLY IDENTIFIED, WHAT IT THEN DOES IS,


  3    IT GOES THROUGH THE HARD DRIVE, THE UNALLOCATED PORTION OF THE


  4    HARD DRIVE, WHERE PIECES OF THE DELETED FILE COULD REMAIN, AND


  5    IT OVERWRITES THE ENTIRETY OF THAT PORTION OF THE HARD DRIVE


  6    WITH ZEROS. SO NOT ONLY IS THE FILE NAME NOT RECOVERABLE;


  7    EVIDENCE ELIMINATOR ALSO MAKES NONRECOVERABLE ANY PIECES OF THE


  8    FORMERLY DELETED FILE.


  9         I JUST WANT TO MAKE THAT CLARIFICATION.


  10        THE COURT: I APPRECIATE THAT.


  11        I DO UNDERSTAND, WHILE IT'S NOT DELETING ANYTHING,


  12   THAT IT'S, FOR LACK OF A BETTER PHRASE, PERFECTING THE


  13   DELETION.


  14        I'D APPRECIATE IT IF YOU WOULD ADDRESS MR. KENNEDY'S


  15   ARGUMENTS, AT LEAST THE ONES I CONSIDER -- WELL, A FEW OF THEM.


  16        FIRST OF ALL, THE 9,400 PLUS FILES. THEIR EXPERT


  17   DOES SEEM TO INDICATE THAT'S NOT A LOT. AND THERE REALLY ISN'T


  18   A RESPONSE TO THAT IN TERMS OF NUMBERS, HOW QUICKLY ONE CAN GET


  19   TO 9,400 JUST BY SEARCHING THE INTERNET, APPARENTLY.


  20        BUT I GUESS ANOTHER DIMENSION -- AND I'M TRYING TO


  21   PUT THIS AS DELICATELY AS I CAN, AND THAT'S WHY I'M KIND OF


  22   SCRAMBLING FOR WORDS. MR. BRYANT HAS PROFFERED, THROUGH HIS


  23   ATTORNEYS, AN ALTERNATIVE EXPLANATION AS TO WHY HE WOULD WANT


  24   TO CLEANSE HIS COMPUTERS BEFORE TURNING THEM OVER FOR IMAGING


  25   THAT HAVE NOTHING TO DO WITH HIDING EVIDENCE, BUT PERHAPS NOT



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  1    DISCLOSING OTHER THINGS THAT HE MAY HAVE ACCESSED WITH HIS


  2    COMPUTER.


  3         IS THERE ANY EVIDENCE SUGGESTING ONE THEORY OVER THE


  4    OTHER, OR IS THIS KIND OF A TOSSUP AND WE JUST LET THE JURY TRY


  5    TO FIGURE IT OUT?


  6         MR. COREY: WELL, I THINK THAT'S EXACTLY RIGHT. THEY


  7    DO HAVE AN INNOCENT EXPLANATION. THEY'VE COME UP WITH IT OVER


  8    THE PAST LITTLE BIT.


  9         THE COURT: IF IT WAS TRULY -- AGAIN, I DON'T KNOW


  10   HOW TO CHOOSE THE WORDS EXACTLY -- IF IT WAS TRULY AN INNOCENT


  11   EXPLANATION IN THE SENSE THAT IF EVERYONE HEARD, THEY WOULD


  12   THINK, OH, OKAY, THAT'S NO PROBLEM. BUT THIS IS WHERE THE 403


  13   ANALYSIS COMES IN. THE INNOCENT EXPLANATION ITSELF, FROM SOME


  14   PEOPLE'S PERSPECTIVE, MIGHT NOT BE SO INNOCENT. LET ME PHRASE


  15   IT THAT WAY. AND THAT'S WHERE THE UNDUE PREJUDICE COMES IN.


  16   IT'S LIKE THERE'S ALMOST A DAMNED-IF-HE-DOES,


  17   DAMNED-IF-HE-DOESN'T TYPE SITUATION HERE, WHERE THE JURY


  18   ARGUABLY COULD BE CONFUSED AND WALK AWAY WITH A NEGATIVE


  19   INFERENCE REGARDLESS OF WHETHER OR NOT THEY ACCEPTED THE


  20   INNOCENT EXPLANATION.


  21        DO YOU UNDERSTAND WHAT I'M SAYING?


  22        MR. COREY: YES, I UNDERSTAND EXACTLY WHAT YOU'RE


  23   SAYING.


  24        AND LET ME START HERE: MR. BRYANT WAS REPRESENTED BY


  25   SOPHISTICATED COUNSEL, AND HE KNEW, REGARDLESS OF WHAT STEPS



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  1    THAT HE TOOK, REGARDLESS OF WHAT YOU CALL IT, ONCE YOU START


  2    DOWN THE PATH OF AFFECTING THE INTEGRITY OF A DEVICE THAT COULD


  3    POTENTIALLY HAVE RELEVANT INFORMATION ON IT, THEN YOU'VE


  4    CROSSED THE LINE. AND IT DOESN'T REALLY MATTER WHAT MECHANISM


  5    YOU USED TO DO THAT.


  6         AND THE COURT HAS ABSOLUTELY PROPERLY IDENTIFIED THE


  7    FACT THAT THIS INFORMATION, THIS TYPE OF CONDUCT, GOES TO


  8    MR. BRYANT'S CREDIBILITY AND HIS GUILTY KNOWLEDGE, I THINK IS


  9    HOW THE COURT PUT IT.


  10        AND ONCE YOU PASS THAT LINE, THEN IT'S REALLY HARD TO


  11   PUT THE GENIE BACK IN THE BOTTLE. WHAT THEY'RE TRYING TO DO AT


  12   THAT POINT IS SAY, 'WELL, YEAH, HE CROSSED THE LINE, BUT IT'S


  13   INNOCENT; IT'S OKAY. HE HAD A JUSTIFICATION FOR IT, SEPARATE


  14   AND APART FROM DESTROYING EVIDENCE RELEVANT TO THE CASE.'


  15        THEN WHAT WE RUN INTO AT THAT POINT IS WHAT THE COURT


  16   HAS IDENTIFIED: NOW HOW DO YOU PROVE THE NEGATIVE?


  17        AND I THINK ONCE YOU CROSS THAT LINE --


  18        THE COURT: I SUPPOSE HOW YOU'D PROVE THE NEGATIVE OR


  19   HOW YOU'D OFFER SOME EVIDENCE -- ADMITTEDLY, YOU CAN'T PROVE


  20   ANYTHING WITH RESPECT TO THE FILES; BUT, PERHAPS, THERE WOULD


  21   BE SOME EVIDENCE -- AND I HAVEN'T SEEN ANY OF THIS -- THAT HE


  22   DID THIS FOR THE REASONS THAT YOU'RE SUGGESTING, AS OPPOSED TO


  23   THE REASONS THAT MR. KENNEDY IS SUGGESTING.


  24        WHAT EVIDENCE WOULD THAT BE? TELLING SOMEBODY ELSE,


  25   'HEY, I'VE GOT THIS PROGRAM THAT CAN KNOCK OUT THE E-MAILS,'



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  1    SOME STATEMENT, SOMETHING WHERE WE COULD TIP THE BALANCE.


  2    BECAUSE WHAT I'M THINKING OF DOING IS -- I DON'T KNOW IF I


  3    REALLY NEED TO HEAR FROM THE EXPERTS AFTER THE REPORTS AND


  4    AFTER EVERYONE'S RECITATION OF THE REPORTS; BUT, PERHAPS, WE


  5    NEED TO HEAR FROM MR. BRYANT.


  6         MR. COREY: LET ME ANSWER THE FIRST QUESTION THAT THE


  7    COURT ASKED, AND THEN WE'LL GET TO THE NEXT ONE. AND THIS MAY


  8    LEAD US TO HEAR, AT LEAST IN PART, FROM ONE OF THE EXPERTS.


  9         THE EXPLANATION THAT MR. KENNEDY PROFFERED WAS THAT


  10   EVIDENCE ELIMINATOR WAS PURCHASED TO DEAL WITH A POP-UP


  11   PROBLEM. EVIDENCE ELIMINATOR DOES NOT ELIMINATE POP-UPS. THAT


  12   IS WHAT MR. MENZ WILL TESTIFY TO. I THINK THAT MAY BE ALL THAT


  13   THE COURT NEEDS TO KIND OF POP THAT PARTICULAR BALLOON.


  14        THE COURT: THANK YOU.


  15        IS THERE ANYTHING ELSE YOU WANTED TO SAY?


  16        MR. COREY: YES.


  17        THE OTHER THING THAT I DID WANT TO SAY IS, THE OTHER


  18   PIECE OF MR. KENNEDY'S ARGUMENT WAS, THERE REALLY IS NO GUILTY


  19   KNOWLEDGE HERE, THERE CAN'T BE, BECAUSE WHO IS HE TO ASSUME


  20   THAT MATTEL WOULD BE COMING AFTER HIM WHEN HE PURCHASED THE


  21   COMPUTER?


  22        THE COURT: THAT GOES TO THE PURCHASE OF IT. BUT


  23   OBVIOUSLY, BY JULY OF 2004, YOU FILED A LAWSUIT; AND THIS IS


  24   DAYS BEFORE THE IMAGING. THAT'S WHY I'M FOCUSING ON THIS


  25   PARTICULAR TIME FRAME, BECAUSE TO ME, IT DOES GET A LITTLE TOO



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  1    SPECULATIVE EARLY ON. BUT THE USE OF IT AT THIS PARTICULAR


  2    TIME PERIOD, I THINK THAT YOU MAY HAVE MET YOUR BURDEN.


  3        MR. COREY: AND THE LAST THING I'LL SAY, YOUR HONOR,


  4    IS, THERE ARE TWO COMPETING EXPLANATIONS HERE. HE HAS, IN


  5    FACT, CROSSED THE LINE. THE JURY GETS TO DECIDE WHICH ONE THEY


  6    FIND TO BE MORE CREDIBLE.


  7        THE COURT: VERY GOOD.


  8        LET'S CALL MR. BRYANT TO THE STAND.


  9        MR. NOLAN: SIDE-BAR, YOUR HONOR?


  10       (SIDE-BAR PROCEEDINGS AS FOLLOWS:)


  11       MR. NOLAN: ALTHOUGH MR. KENNEDY HAS BEEN ADDRESSING


  12   THE ARGUMENT, I WANT TO RAISE THIS ONE PARTICULAR POINT: WOULD


  13   IT BE POSSIBLE, FOR THIS PART OF THE EXAMINATION, THAT THE


  14   MATTER BE SEALED AND THE COURTROOM CLEARED FROM THE PRESS, FOR


  15   THIS REASON: I THOUGHT IT WAS INTERESTING THAT FOR PRIVACY


  16   POINTS OF VIEWS THE COURT WOULD REDACT THE SOCIAL SECURITY


  17   NUMBER OF CARTER BRYANT FOR PRIVACY PURPOSES. HERE WE'RE GOING


  18   TO GET INTO A VERY, VERY SENSITIVE AREA, AND OUR CONCERN REALLY


  19   IS ONE OF CARTER BRYANT'S PRIVACY.


  20       MATTEL HAS SETTLED WITH HIM. THIS IS BEING COVERED


  21   WORLDWIDE. WE EXPECT THE JURY NOT TO BE READING ANY OF THIS


  22   ANYWAY. I KNOW THAT. BUT I'M WORRIED.


  23       THE COURT: I APPRECIATE YOUR CONCERN, BUT I WOULD


  24   EXPECT THIS TO BE AN ISSUE THAT WOULD BE RAISED BY


  25   CARTER BRYANT'S ATTORNEYS. NOT BY --



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  1        MR. NOLAN: I WILL REPRESENT, YOUR HONOR, THAT


  2    CHRISTA ANDERSON ASKED ME TO MAKE THIS REQUEST YESTERDAY. I


  3    DIDN'T GIVE CHRISTA A HEADS UP AS TO WHEN SHE CAME HERE, BUT


  4    SHE'LL CONFIRM THAT WAS REQUESTED.


  5        THE COURT: FAIR ENOUGH.


  6        MR. KENNEDY: IF YOU PREFER, SHE WILL DO IT.


  7        THE COURT: LET ME HEAR FROM MATTEL, JUST ON THE


  8    ISSUE OF SEALING.


  9        MR. ZELLER: WE HAVE NO REASON AND DON'T WANT TO


  10   CAUSE MR. BRYANT EMBARRASSMENT. HOWEVER, I DON'T THINK WE CAN


  11   TAKE THE POSITION THAT THERE ARE -- OTHER PARTIES MAY HAVE SOME


  12   INTEREST. I DON'T THINK WE CARE. I DON'T THINK MATTEL HAS A


  13   POSITION ON WHETHER OR NOT THIS IS SEALED.


  14       IF THE COURT THINKS THAT IS SUFFICIENT CAUSE, WE'RE


  15   FINE WITH THAT. BUT I'M NOT IN A POSITION TO EVALUATE WHAT, IF


  16   ANY, POSITION WE SHOULD TAKE, BECAUSE I DO NOT KNOW, FRANKLY


  17   WHAT HE'S GOING TO SAY BEYOND WHAT MR. KENNEDY HAS SAID IN THE


  18   PROFFER.


  19       THE COURT: VERY WELL.


  20       MR. NOLAN: WOULD YOU LIKE MS. ANDERSON TO COME UP,


  21   YOUR HONOR?


  22       THE COURT: I DON'T WANT TO EMBARRASS ANYBODY, SO WHY


  23   DON'T WE DO THIS IN CHAMBERS.


  24       MR. NOLAN: PERFECT.


  25       THE COURT: GIVE US A FEW MINUTES TO SET UP.



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  1        MR. ZELLER: JUST SO I CAN PLAN AHEAD, WE'RE GOING TO


  2    DO THE ENTIRE EXAMINATION OF MR. BRYANT IN CHAMBERS?


  3        THE COURT: I THINK SO. LETS JUST DO IT ALL, KEEP IT


  4    VERY TIGHT; JUST GO RIGHT TO THE ISSUE. WE DON'T NEED TO HAVE


  5    A LOT OF BACKGROUND ON THIS.


  6        MR. ZELLER: THANK YOU.


  7        (SIDE-BAR PROCEEDINGS CONCLUDED.)


  8        THE COURT: A MOTION HAS BEEN MADE ON BEHALF OF


  9    CARTER BRYANT.


  10       MS. ANDERSON, APPARENTLY, YOU AUTHORIZED MR. NOLAN TO


  11   MAKE A MOTION ON YOUR BEHALF TO HAVE THIS CONDUCTED IN


  12   CHAMBERS. THE COURT WILL GRANT THAT MOTION, SO WE'LL CONDUCT


  13   THIS HEARING IN CHAMBERS.


  14       GIVE US A FEW MINUTES TO SET UP.


  15       I WILL INVITE NOT ONLY COUNSEL FOR THE PARTIES BUT


  16   ALSO COUNSEL FOR CARTER BRYANT INTO CHAMBERS; AND WE'LL TAKE A


  17   BRIEF RECESS TO SET THAT UP.


  18       (SEALED PROCEEDINGS BEGIN,


  19       UNDER SEPARATE TRANSCRIPT.)


  20       (BRIEF RECESS TAKEN.)


  21       THE COURT: WE'RE BACK ON THE RECORD, OUTSIDE THE


  22   PRESENCE OF THE JURY.


  23       THE COURT MADE SOME RULINGS IN CHAMBERS WHICH WILL BE


  24   PART OF THE RECORD, AND I JUST WANTED TO ANNOUNCE THOSE, ALSO


  25   FOR THE BENEFIT OF EVERYONE PRESENT.



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  1        WITH RESPECT TO THE MOTION TO DEPOSE LITTLER


  2    MENDELSON, THAT IS DENIED. AND AS I INDICATED IN CHAMBERS AND


  3    WHICH WILL BE REFLECTED IN THE COURT'S FINAL ORDER, THE COURT


  4    IS MAKING A FINDING THAT BASED ON THE EVIDENCE BEFORE IT, THE


  5    COURT FINDS THAT THERE WAS NO MISCONDUCT BY ANY OF THE COUNSEL


  6    ASSOCIATED WITH LITTLER MENDELSON, OR ANY OF THE COUNSEL


  7    ASSOCIATED WITH THIS MOTION. THAT WILL BE SET FORTH IN THE


  8    COURT'S ORDER. SO THAT MOTION IS RESOLVED.


  9        SECONDLY, WITH RESPECT TO MOTION IN LIMINE


  10   NUMBER 13 -- AND THIS IS MGA'S MOTION TO EXCLUDE ANY EVIDENCE


  11   OF SPOLIATION, ADVERSE JURY INSTRUCTION. THAT MOTION IS


  12   GRANTED IN PART. AND IT'S GRANTED, ACTUALLY, WITH RESPECT TO


  13   ALL EVIDENCE, EXCEPT FOR THE USE OF EVIDENCE ELIMINATOR ON


  14   JULY 12, 2004. THE COURT HAS YET TO MAKE A DECISION WITH


  15   RESPECT TO THAT. THE COURT WILL ANNOUNCE THAT DECISION AT


  16   1:15. I WANT TO DO A LITTLE FURTHER WORK IN THINKING ABOUT


  17   THAT. BUT IT WILL OTHERWISE BE DENIED; SO IT'S JUST THE ISSUE


  18   OF THE JULY 12TH USE OF THE SAFE EXIT FEATURE ON


  19   EVIDENCE ELIMINATOR.


  20       WITH THE RESPECT TO THE FINAL DISCOVERY MOTION -- AND


  21   THAT IS THE MOTION SEEKING TO ENFORCE THE JANUARY 2007 ORDER OF


  22   THE DISCOVERY MASTER -- THAT IS GRANTED IN PART AND DENIED IN


  23   PART. I HAVE DIRECTED COUNSEL FOR CARTER BRYANT, MS. ANDERSON,


  24   TO PREPARE THE LIST OF COMPUTERS USED BY MR. CARTER BRYANT


  25   FROM, ESSENTIALLY, 2000 TO THE PRESENT, ALTHOUGH INCLUDING THE



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  1    1998 USE OF HIS PARENTS' COMPUTER AND VARIOUS OTHER INFORMATION


  2    THAT THE COURT HAS FOUND, BASED ON THE EVIDENCE BEFORE IT.


  3         I AM GOING TO ORDER WHAT THE COURT IS REFERRING TO AS


  4    THE 2004 COMPUTERS TO BE TURNED OVER TO MATTEL PURSUANT TO THAT


  5    JANUARY 2007 ORDER. AND THEY WILL BE TURNED OVER PURSUANT TO


  6    THE PROTOCOL THAT JUDGE INFANTE SET UP TO AVOID ANY DISCLOSURE


  7    OF ATTORNEY-CLIENT PRIVILEGED COMMUNICATIONS, AS WELL AS TO


  8    ENSURE THAT PERSONAL OR PRIVATE MATERIAL IS REMOVED. AND THAT


  9    PROTOCOL WILL GOVERN THE PRODUCTION OF THE 2004 COMPUTERS.


  10        I HAVE DENIED THE MOTION, WITHOUT PREJUDICE, WITH


  11   RESPECT TO THE 2007 COMPUTERS AND AFFORDED LEAVE TO COUNSEL FOR


  12   MATTEL TO SEEK THE PRODUCTION OF THOSE IN CONNECTION WITH THE


  13   SECOND TRIAL.


  14        I HAVE FURTHER ORDERED CARTER BRYANT AND COUNSEL FOR


  15   CARTER BRYANT TO MAKE SURE THAT THOSE 2007 COMPUTERS ARE


  16   PRESERVED PENDING ANY FURTHER LITIGATION RELATED TO THEM.


  17        SO I THINK THAT CLEARS THE DECK, EXCEPT FOR THE ISSUE


  18   OF THE JULY 12TH USE OF EVIDENCE ELIMINATOR; AND I'LL MAKE THAT


  19   DECISION AT 1:15.


  20        MR. ZELLER, IS THIS RECAP CONSISTENT WITH YOUR


  21   UNDERSTANDING OF WHAT THE COURT RULED?


  22        MR. ZELLER: YES, IT IS, WITH ONE CLARIFICATION, YOUR


  23   HONOR, WHICH IS -- AND I DON'T KNOW IF IT MATTERS TO THE


  24   COURT'S DECISION, BUT SO THE COURT IS CLEAR, I DON'T BELIEVE


  25   THAT JUDGE INFANTE HAS EVER APPROVED THE PROTOCOL THAT THE



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  1    COURT WAS DISCUSSING WITH RESPECT TO THE PROTECTION OF


  2    ATTORNEY-CLIENT INFORMATION. I KNOW MOST RECENTLY IT WAS A


  3    PROTOCOL THAT WAS NEGOTIATED BETWEEN MATTEL AND MGA WITH


  4    RESPECT TO ISAAC LARIAN'S HARD DRIVES, WHICH WAS BASICALLY --


  5    TO THE EXTENT IT WAS UNDER ANY COURT'S AUSPICES, IT WAS UNDER


  6    YOUR HONOR'S. BUT THERE HAS NOT BEEN, TO MY KNOWLEDGE, A PRIOR


  7    ORDER WHERE SOME SPECIFIC PROTOCOL WAS HAMMERED OUT WITH


  8    JUDGE INFANTE'S APPROVAL.


  9            I JUST WANTED TO MAKE SURE THAT WAS UNDERSTOOD.


  10           THE COURT: VERY WELL.


  11           I GUESS THE PROTOCOL THAT WAS IRONED OUT BY


  12   JUDGE INFANTE RELATES TO THE PRIVATE INFORMATION, THIS


  13   HEIGHTENED-LEVEL PROTECTIVE ORDER; IS THAT CORRECT?


  14           MR. ZELLER: NO. THAT'S A SEPARATE ONE AS WELL. THE


  15   HEIGHTENED PROTECTION THAT JUDGE INFANTE PROVIDED WAS NOT FOR


  16   PRIVATE MATERIAL, BUT, RATHER, IT WAS FOR MATERIAL THAT HAD


  17   PARTICULAR SENSITIVITY AS TO TRADE SECRETS, BECAUSE IT INVOLVED


  18   VERY SHORT-TERM, FORWARD-LOOKING BUSINESS PLANS, OR PRODUCT


  19   LINE LAUNCHES; SO, FOR EXAMPLE, IF IN 2007, THERE WAS


  20   INFORMATION ABOUT WHAT THE SPRING OF '08 LINE WAS GOING TO LOOK


  21   LIKE.


  22           THE COURT: VERY WELL.


  23           WELL, THAT WOULD CERTAINLY APPLY, THEN, TO ANY TRADE


  24   SECRET TYPE INFORMATION THAT IS CONTAINED ON THE 2004.


  25           A PROTOCOL DOES NEED TO BE WORKED OUT WITH RESPECT TO



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  1    PRIVATE INFORMATION, PERSONAL INFORMATION, AS WELL AS


  2    ATTORNEY-CLIENT PRIVILEGED COMMUNICATIONS.


  3        I TRUST, MR. ZELLER, YOU AND MS. ANDERSON CAN WORK


  4    THAT OUT AND INCLUDE THAT IN THE PROPOSED ORDER THAT WILL BE


  5    SUBMITTED TO THIS COURT IN ADVANCE OF FRIDAY, OR BY FRIDAY; AND


  6    IF YOU HAVE ANY QUESTIONS ON THAT, OR IF YOU CAN'T COME TO AN


  7    AGREEMENT, THE COURT WILL ISSUE ITS OWN LANGUAGE. BUT I WOULD


  8    APPRECIATE YOU, IN THE FIRST INSTANCE, SEEING IF YOU CAN'T COME


  9    UP WITH A RESOLUTION THAT IS CONSISTENT, THEN, WITH THE


  10   PROTOCOLS THAT HAVE BEEN ENTERED INTO WITH RESPECT TO THIS


  11   OTHER INFORMATION.


  12       MR. ZELLER: RIGHT.


  13       AND IN THE PAST, BRYANT'S COUNSEL AND MATTEL'S


  14   COUNSEL -- WE HAVE REACHED AGREEMENT ON THE TREATMENT OF


  15   PRIVATE MATERIAL. SO THAT HAS, AGAIN, BEEN SORT OF A


  16   PRIVATELY-NEGOTIATED PROTOCOL.


  17       SO THERE'S PRECEDENT FOR ALL OF THIS, BUT I JUST


  18   DIDN'T WANT THE COURT TO BELIEVE THAT WHAT WE HAD DONE IN THE


  19   PAST HAD BEEN PREMATURE OF THE COURT.


  20       THE COURT: I APPRECIATE THAT, MR. ZELLER.


  21       MS. ANDERSON, IS THERE ANYTHING ELSE?


  22       MS. ANDERSON: NO. I WAS GOING TO JUST ADD ALL OF


  23   THE THINGS THAT MR. ZELLER JUST ADDED.


  24       THE COURT: VERY WELL.


  25       COUNSEL FOR LITTLER MENDELSON, ANY QUESTIONS ON YOUR



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  1    BEHALF?


  2         MR. KRAMER: NO THANK YOU, YOUR HONOR.


  3         THE COURT: VERY WELL. YOU'RE EXCUSED.


  4         MS. ANDERSON, YOU'RE EXCUSED.


  5         AND WHAT I'D LIKE TO DO IS PROCEED WITH AT LEAST


  6    45 MINUTES OF TESTIMONY THIS MORNING. I GUESS MY GOAL OF


  7    HAVING TWO HOURS IS GOING TO FALL SHORT.


  8         WE DO HAVE A JUROR NOTE THAT, I THINK, WAS PROVIDED


  9    TO COUNSEL. I ALSO HAVE RECEIVED INFORMATION THAT BECAUSE OF


  10   PARKING PROBLEMS ACROSS THE STREET, TWO OF THE JURORS HAD TO


  11   PARK AT ALTERNATIVE PLACES, AND ONE OF THE JURORS HAS TO LEAVE


  12   AT 11:45 TO GO MOVE HER CAR; SO WE'RE GOING TO HAVE TO BREAK AT


  13   11:45.


  14        JUROR NUMBER THREE, WHAT I'M INCLINED TO DO IS TAKE


  15   THAT UP -- ASK HER TO COME BACK AT 1:15 AND TAKE THAT UP


  16   OUTSIDE THE PRESENCE OF THE OTHER JURORS; GIVE COUNSEL A CHANCE


  17   TO THINK ABOUT IT. I'LL ASK HER TO SIT THROUGH THIS MORNING'S


  18   TESTIMONY.


  19        IF THERE'S NOTHING ELSE, I'D LIKE TO BRING THE


  20   TESTIMONY IN.


  21        MR. LARIAN, IF YOU COULD RETURN TO THE WITNESS STAND,


  22   AND WE'LL GET GOING.


  23        (WHEREUPON, JURORS ENTER COURTROOM.)


  24        THE COURT: WE'RE BACK ON THE RECORD BEFORE THE JURY.


  25        I UNDERSTAND THAT ONE OF THE MEMBERS OF THE JURY



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  1    NEEDS TO LEAVE TO RETRIEVE THEIR CAR AT 11:45, SO WE'LL BREAK


  2    AT THAT TIME.


  3         I ALSO UNDERSTAND THAT ANOTHER JUROR NEEDS TO TAKE UP


  4    AN ISSUE WITH THE COURT. JUROR NUMBER THREE, MS. JOHNSON.


  5    WE'VE RECEIVED YOUR LETTER. WHAT WE'LL DO IS, WE'LL TAKE THAT


  6    UP AT 1:15 THIS AFTERNOON.


  7         SO LET'S RESUME WITH THE EXAMINATION OF MR. LARIAN AT


  8    LEAST FOR THE NEXT 35 MINUTES.


  9         COUNSEL.


  10            DIRECT EXAMINATION(CONTINUED)


  11   BY MR. PRICE:


  12   Q   I'M GOING TO SHOW YOU A DOCUMENT. IT'S BEEN IDENTIFIED AS


  13   EXHIBIT 10175.


  14        MR. LARIAN, LOOK THAT OVER BRIEFLY, AND I'M GOING TO


  15   ASK YOU WHETHER YOU HAVE SEEN THIS DOCUMENT BEFORE.


  16   A   I DON'T RECALL EVER SEEING IT.


  17   Q   DID YOU EVER HAVE ANY DISCUSSIONS CONCERNING A LAWYER


  18   NAMED RAYMOND DAVID BLACK, REPRESENTING MGA?


  19   A   I KNOW A LAWYER NAMED DAVID BLACK. I DO KNOW HIM.


  20   Q   AND WHO IS HE?


  21   A   HE'S A LAWYER FOR US IN THE UK.


  22   Q   AND DID MR. BLACK FILE, ON YOUR BEHALF, AN ACTION AGAINST


  23   DOUBLE GRAND CORPORATION, LIMITED?


  24   A   I DON'T RECALL THAT.


  25   Q   MORE PARTICULARLY, IF YOU'D LOOK AT PAGE 30. I'LL ASK YOU



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  1    WHETHER YOU RECOGNIZE THAT DOCUMENT, OR THAT PORTION OF


  2    EXHIBIT 10175.


  3    A   I DO NOT.


  4    Q   DID YOU EVER BECOME AWARE THAT ATTORNEYS ON BEHALF OF MGA


  5    REPRESENTED TO COURTS IN THE UK THAT CARTER BRYANT CAME UP WITH


  6    THE DESIGNS OF THE BRATZ DOLLS IN 1999?


  7         MR. NOLAN: OBJECTION, YOUR HONOR. LACKS FOUNDATION;


  8    REFERRING TO THE DOCUMENT.


  9         THE COURT: LAY A FOUNDATION, COUNSEL.


  10   BY MR. PRICE:


  11   Q   DO YOU HAVE ANY UNDERSTANDING AS TO WHETHER OR NOT MGA HAS


  12   MADE REPRESENTATIONS TO COURTS AS TO WHEN MR. BRYANT CREATED


  13   THE BRATZ DESIGN?


  14   A   I DO NOT.


  15   Q   ARE YOU AWARE THAT ISSUE CAME UP, THAT IS, WHEN MR. BRYANT


  16   CREATED THE BRATZ DESIGNS -- ARE YOU AWARE OF WHETHER OR NOT


  17   THAT ISSUE HAS EVER COME UP IN ANY LITIGATION OTHER THAN THIS


  18   ONE IN WHICH MGA HAS BEEN INVOLVED?


  19   A   NOT THAT I RECALL AS I SIT HERE, NO.


  20   Q   DID YOU PERSONALLY EVER HAVE DISCUSSIONS WITH MR. BLACK


  21   ABOUT THE FACTUAL BACKGROUND OF WHEN BRATZ WAS ORIGINATED OR


  22   THE HISTORY OF MGA OR ANYTHING OF THAT NATURE?


  23        MR. NOLAN: YOUR HONOR, I'M GOING TO OBJECT TO THE


  24   EXTENT THAT HE HAD CONVERSATIONS WITH COUNSEL FOR MGA THAT


  25   WOULD BE PRIVILEGED.



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  1         THE COURT: REPHRASE.


  2    BY MR. PRICE:


  3    Q   WITHOUT GETTING INTO ANY SUBSTANCE, HAVE YOU HAD


  4    DISCUSSIONS WITH FOREIGN LAWYERS CONCERNING THE HISTORY OF


  5    BRATZ?


  6    A   I'M SORRY? WITH FOUR LAWYERS?


  7    Q   FOREIGN LAWYERS, LIKE MR. BLACK, OR OTHERS, CONCERNING THE


  8    HISTORY OF BRATZ.


  9    A   I DON'T RECALL ONE WAY OR ANOTHER.


  10   Q   IF ONE OF YOUR LAWYERS WANTED TO LEARN THE HISTORY OF


  11   BRATZ, WHEN MR. BRYANT CREATED THESE DESIGNS OR ANYTHING OF


  12   THAT NATURE, WOULD IT BE THE PRACTICE THAT THEY WOULD TALK TO


  13   YOU OR SOMEBODY ELSE WITHIN MGA?


  14        MR. NOLAN: OBJECTION. LACKS FOUNDATION; CALLS FOR


  15   SPECULATION WITH SOMEONE HE WOULD HAVE TALKED TO.


  16        THE COURT: OVERRULED.


  17        YOU MAY ANSWER.


  18        THE WITNESS: MOST LIKELY WE WOULD TALK TO OUR


  19   IN-HOUSE GENERAL COUNSEL.


  20   BY MR. PRICE:


  21   Q   THAT WOULD BE WHOM?


  22   A   AT WHAT TIME?


  23   Q   IN 2003.


  24   A   I BELIEVE THAT WOULD BE DAPHNE GRONICH, IF I'M NOT


  25   MISTAKEN. AGAIN, I DON'T KNOW EXACTLY IF IT WAS HER OR



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  1    SOMEBODY ELSE. I DON'T RECALL EXACTLY WHO WAS THE GENERAL


  2    COUNSEL IN 2003.


  3    Q   BEFORE PLEADINGS WERE FILED IN CASES THAT MGA WAS PURSUING


  4    IN WHICH THE COMPANY WAS TAKING POSITIONS ON WHEN THE BRATZ


  5    DESIGNS WERE CREATED, BEFORE THAT HAPPENED, WAS IT YOUR


  6    PRACTICE TO REVIEW THOSE PLEADINGS FOR ACCURACY?


  7    A   NO.


  8    Q   WAS THERE SOMEONE AT MGA WHO HAD THAT RESPONSIBILITY?


  9    A   AGAIN, I'M SPECULATING. MOST LIKELY, OUR LAWYERS, OUR


  10   GENERAL COUNSEL.


  11   Q   JUST A FEW MORE QUESTIONS.


  12        MR. LARIAN, WE SHOWED YOU EXHIBIT 633, WHICH IS IN


  13   EVIDENCE, ON FRIDAY. WE'LL PUT THAT UP AGAIN.


  14        THAT WAS AN E-MAIL THAT YOU WROTE TO MR. ROSS,


  15   MS. O'CONNOR, AND DAVID MALACRIDA ABOUT THE POLICY OF NO ONE


  16   TALKING TO THE PRESS UNLESS YOU KNEW IN ADVANCE WHAT THEY WERE


  17   GOING TO SAY.


  18   A   YES.


  19   Q   SO MY QUESTION IS THIS: I THINK YOU SAID MR. MALACRIDA


  20   HAD FUNCTIONS IN PUBLIC RELATIONS; IS THAT RIGHT?


  21   A   YES. HE'S HEAD OF PUBLIC RELATIONS.


  22   Q   AND YOU WERE HERE WHEN MS. O'CONNOR TESTIFIED?


  23   A   I WAS.


  24   Q   IS IT TRUE THAT AFTER MS. O'CONNOR'S DEPOSITION WAS TAKEN,


  25   IN WHICH SHE SAID YOU INSTRUCTED HER TO WHITE OUT THE FAX



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  1    HEADER FOR MATTEL -- IS IT TRUE THAT AFTER THAT, YOU INSTRUCTED


  2    MR. MALACRIDA TO ADD HER BROTHER, CHARLES O'CONNOR, TO A LAYOFF


  3    LIST?


  4    A   THAT IS ABSOLUTELY NOT TRUE.


  5    Q   DO YOU RECALL THERE BEING A LAYOFF LIST IN WHICH


  6    MS. O'CONNOR'S BROTHER WAS ON?


  7    A   I BELIEVE MS. O'CONNOR'S BROTHER WAS LAID OFF, YES.


  8    Q   AND IT'S YOUR UNDERSTANDING THAT WAS ABOUT FOUR MONTHS


  9    AFTER MS. O'CONNOR TESTIFIED IN HER DEPOSITION.


  10   A   I DON'T RECALL WHEN WAS IT. I HAVE NO IDEA.


  11   Q   IT'S FAIR TO SAY, THOUGH, AT SOME POINT AFTER


  12   MS. O'CONNOR'S DEPOSITION, YOU HEARD ABOUT HER TESTIMONY UNDER


  13   OATH THAT YOU HAD INSTRUCTED HER TO WHITE OUT THE FAX HEADER


  14   SAYING THAT THE CONTRACT WAS FAXED FROM MATTEL, THE BRYANT


  15   CONTRACT?


  16   A   CAN YOU PLEASE -- I DON'T UNDERSTAND YOUR QUESTION.


  17   Q   SURE.


  18           AT SOME TIME AFTER MS. O'CONNOR'S DEPOSITION, IT'S


  19   TRUE, IS IT NOT, THAT YOU LEARNED THAT MS. O'CONNOR HAD SAID


  20   THAT YOU HAD INSTRUCTED HER TO WHITE OUT THE FAX HEADER THAT


  21   SAID THAT MR. BRYANT'S CONTRACT WAS FAXED FROM MATTEL?


  22   A   I DON'T RECALL THAT.


  23   Q   THAT SORT OF ACCUSATION WOULD MAKE YOU SOMEWHAT UPSET IF


  24   IT WEREN'T TRUE; CORRECT?


  25   A   WELL, TO THE BEST OF MY RECOLLECTION, MOST OF THESE



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  1    DEPOSITIONS WERE TAKEN AS ATTORNEYS' EYES ONLY, AND OUR


  2    ATTORNEYS WERE NOT SUPPOSED TO TELL US ANYTHING ABOUT ANY OF


  3    THE DEPOSITIONS; SO I HAVE NO RECOLLECTION OF THAT ONE WAY OR


  4    ANOTHER.


  5    Q   IS IT YOUR TESTIMONY THAT THAT PART OF MS. O'CONNOR'S


  6    DEPOSITION WAS FOR ATTORNEYS' EYES ONLY; THAT IS, THE PART


  7    WHERE SHE SAID YOU TOLD HER TO WHITE OUT THE FAX HEADER SHOWING


  8    THAT MR. BRYANT'S CONTRACT WAS FAXED FROM MATTEL?


  9    A   I DON'T KNOW. I WAS NOT AT HER DEPOSITION, SO I DON'T


  10   KNOW IF IT WAS OR NOT.


  11   Q   SO IS IT YOUR TESTIMONY THAT YOU NEVER LEARNED THAT SHE


  12   HAD TESTIFIED IN THAT DEPOSITION UNDER OATH THAT YOU HAD


  13   DIRECTED HER TO WHITE OUT THIS FAX HEADER?


  14   A   BESIDES WHAT I LEARNED DURING THE COURSE OF THIS


  15   LITIGATION?


  16   Q   WELL, THAT WOULD BE DURING THE COURSE OF THE LITIGATION.


  17        AFTER HER DEPOSITION.


  18   A   TECHNICALLY, YEAH, YOU CAN SAY AFTER THE DEPOSITION, YES,


  19   I DID LEARN THAT SHE SAID THAT.


  20   Q   HOW SOON WAS IT AFTER MS. O'CONNOR'S DEPOSITION THAT YOU


  21   LEARNED THAT SHE HAD SAID THAT YOU HAD WHITED OUT THE FAX


  22   HEADER THAT SHOWED THAT MR. BRYANT'S CONTRACT WAS FAXED TO MGA


  23   FROM MATTEL?


  24   A   I WOULD NOT BE ABLE TO PUT A DATE ON THAT. I DON'T KNOW


  25   WHEN WAS HER DEPOSITION.



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  1    Q   BUT JUST SAY WITHIN A CERTAIN TIME PERIOD.


  2         WAS IT WITHIN A MONTH? A DAY? A FEW WEEKS? TWO


  3    MONTHS? TWO YEARS?


  4    A   I DON'T RECALL. I DON'T THINK IT WOULD BE TWO YEARS,


  5    BECAUSE -- BUT I DON'T RECALL.


  6    Q   SO YOU DON'T RECALL AN INSTANCE WHERE YOU LEARNED OF THAT


  7    AND YOU WERE UPSET BECAUSE YOU THOUGHT THAT WAS UNTRUE?


  8    A   I AM UPSET, BECAUSE IT IS UNTRUE. BUT I DON'T RECALL WHEN


  9    I LEARNED ABOUT IT.


  10   Q   DO YOU RECALL THAT YOU WERE ASKED ABOUT EXHIBIT 13223; AND


  11   THIS IS THE REDACTED E-MAIL FROM PETER MARLOW. YOU RECALL THAT


  12   THE E-MAIL WAS FROM MR. MARLOW TO MS. GARCIA, COPYING YOU.


  13        I WANT TO ASK YOU ABOUT MS. GARCIA'S RELATIONSHIP TO


  14   VERONICA MARLOW.


  15        WAS IT YOUR UNDERSTANDING THAT THEY WERE FRIENDS?


  16   A   AS OF WHEN?


  17   Q   LET'S SAY AS OF 2005.


  18   A   I DON'T KNOW IF THEY WERE FRIENDS OR NOT. I KNOW THAT


  19   VERONICA MARLOW WAS A FREELANCE CONTRACTOR TO MGA. I HAVE NO


  20   IDEA IF THEY WERE FRIENDS OR NOT.


  21   Q   WAS IT YOUR UNDERSTANDING THAT IT WAS MS. GARCIA WHO MADE


  22   THE DECISION AS TO WHETHER OR NOT TO SEND WORK TO


  23   VERONICA MARLOW?


  24   A   I UNDERSTAND THAT, FOR HER TO BE -- YES. YES, THAT'S


  25   CORRECT.



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  1    Q     AND MS. GARCIA WOULD BE THE ONE WHO WOULD APPROVE THE


  2    INVOICES THAT CAME IN FROM VERONICA MARLOW.


  3    A     I DON'T KNOW IF IT WAS HER WHO APPROVED THEM OR THE


  4    ACCOUNTING DEPARTMENT OR SOMEBODY ELSE. I HAVE NO IDEA WHO


  5    APPROVED HER INVOICES.


  6    Q     IT'S YOUR UNDERSTANDING THAT MS. GARCIA, BEING THE PERSON


  7    WHO WOULD SEND THE WORK TO MS. MARLOW, WOULD BE EXPECTED TO


  8    OVERSEE THAT WORK; CORRECT?


  9    A     CAN YOU REPEAT THAT QUESTION.


  10   Q     SURE.


  11          SINCE MS. GARCIA WAS THE ONE SENDING THE WORK TO


  12   MS. MARLOW, SHE WAS THE ONE WHO WOULD BE OVERSEEING THAT WORK,


  13   TO MAKE SURE IT WAS SATISFACTORY.


  14   A     I HOPE SO. THAT'S MY BEST RECOLLECTION -- EXPECTATION, I


  15   GUESS.


  16   Q     AND YOU WOULD EXPECT THAT MS. MARLOW WOULD OVERSEE THE


  17   WORK TO MAKE SURE SHE WAS GETTING HER MONEY'S WORTH; THAT IS,


  18   THAT MGA WAS GETTING ITS MONEY'S WORTH.


  19   A     CAN YOU REPEAT THAT AGAIN.


  20   Q     YOU WOULD EXPECT THAT MS. GARCIA, IN THIS OVERSIGHT


  21   FUNCTION, WOULD BE MAKING SURE THAT MGA WAS GETTING ITS MONEY'S


  22   WORTH FOR THE WORK THAT IT WAS GETTING FROM MS. MARLOW.


  23   A     I'M SORRY. I DON'T UNDERSTAND EXACTLY WHAT YOUR QUESTION


  24   IS.


  25   Q     I'LL BREAK IT UP.



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  1         MGA WANTS TO MAKE SURE IT DOESN'T OVERPAY ITS


  2    VENDORS; RIGHT?


  3    A   YES. I HOPE SO.


  4    Q   YOU'RE CONCERNED ABOUT COSTS.


  5    A   WE ARE CONCERNED ABOUT COSTS.


  6    Q   AND YOU SAID MS. GARCIA WAS THE ONE RESPONSIBLE FOR


  7    SENDING BUSINESS TO MS. MARLOW; CORRECT?


  8    A   I THINK SHE WAS, YES.


  9    Q   AND PART OF HER DUTIES WOULD BE TO MAKE SURE THAT THE WORK


  10   SHE WAS GETTING FROM MS. MARLOW WAS WORTH THE COST.


  11   A   YES. YOU CAN SAY THAT.


  12   Q   DOES MGA HAVE ANY POLICIES ABOUT WHETHER OR NOT A VENDOR


  13   WHO'S RECEIVING WORK FROM AN MGA EMPLOYEE CAN GIVE GIFTS TO


  14   THAT MGA EMPLOYEE?


  15   A   IF WE HAVE A POLICY, WE CAN GIVE GIFTS TO THE MGA


  16   EMPLOYEE?


  17   Q   YES.


  18        FOR EXAMPLE, MS. GARCIA IS THE ONE SENDING WORK TO


  19   MS. MARLOW.


  20        DID MGA HAVE A POLICY THAT MS. GARCIA, YOU KNOW,


  21   SHOULDN'T BE ACCEPTING MONEY FROM MS. MARLOW?


  22   A   IT'S POSSIBLE. I DON'T KNOW ONE WAY OR ANOTHER.


  23   Q   WELL, WOULD YOU EXPECT THAT THERE WOULD BE SOME POLICY


  24   AGAINST THAT?


  25   A   I DON'T KNOW IF THERE IS OR NOT. I DON'T THINK THERE'S



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  1    ANYTHING WRONG IF SOMEBODY IS GIVING GIFTS TO SOMEBODY ELSE, AS


  2    FAR AS MGA IS CONCERNED.


  3    Q   LET ME SHOW YOU WHAT'S IN EVIDENCE AS EXHIBIT 13172. IT'S


  4    NOT IN YOUR BINDER. I'M PUTTING IT UP HERE.


  5          IT'S A CHECK FROM MS. MARLOW TO PAULA TREANTAFELLES,


  6    MS. GARCIA, FOR $8,000, IN AUGUST OF 2004.


  7          DO YOU HAVE ANY AWARENESS AS TO THIS CHECK; THAT IS,


  8    MS. MARLOW, THE VENDOR, SENDING MS. GARCIA, THE PERSON WHO GAVE


  9    HER BUSINESS, A CHECK FOR $8,000?


  10   A   I DO NOT.


  11   Q   SINCE FRIDAY, HAVE YOU HAD THE OPPORTUNITY TO TALK WITH


  12   ANYONE ABOUT YOUR TESTIMONY?


  13   A   NO, I HAVE NOT.


  14   Q   HAVE YOU HAD ANY DISCUSSIONS WITH ATTORNEYS OR ANYONE


  15   ABOUT YOUR TESTIMONY?


  16   A   I HAVE NOT.


  17   Q   PRIOR TO TAKING THE STAND LAST WEEK, DID YOU HAVE ANY


  18   MEETINGS WITH YOUR COUNSEL CONCERNING YOUR TESTIMONY?


  19   A   I DID.


  20   Q   AND WITHOUT GETTING INTO ANY SUBSTANCE, CAN YOU TELL US


  21   WHO YOU MET WITH.


  22   A   MR. TOM NOLAN. CRAIG HOLDEN, I BELIEVE, CAME IN AND OUT.


  23   I THINK EVEN TOM NOLAN CAME IN AND OUT. HE WENT TO DO HIS


  24   LAUNDRY.


  25         MR. NOLAN: OBJECTION, YOUR HONOR. ACTUALLY, I



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  1    PICKED IT UP FROM THE LAUNDRY.


  2         MR. QUINN: WE'RE JUST GRATEFUL HE DID IT,


  3    YOUR HONOR.


  4         THE COURT: VERY WELL.


  5         THE WITNESS: AND ROB HERRINGTON.


  6    BY MR. PRICE:


  7    Q   PADDINGTON?


  8    A   NO. ROB HERRINGTON.


  9    Q   AND COULD YOU IDENTIFY -- WE KNOW MR. NOLAN.


  10   A   YES.


  11   Q   THE OTHER FOLKS ARE IN HERE AS WELL?


  12   A   ROB HERRINGTON IS RIGHT THERE.


  13        AGAIN, CRAIG HOLDEN CAME IN AND OUT.


  14   Q   HOW LONG WERE YOU MEETING WITH THESE FOLKS?


  15   A   ABOUT TWO TO THREE HOURS.


  16   Q   DURING THAT TIME, DID YOU LOOK AT ANY DOCUMENTS TO REFRESH


  17   YOUR MEMORY?


  18   A   I LOOKED AT DOCUMENTS, YES.


  19   Q   DID ANY OF THEM REFRESH YOUR RECOLLECTION?


  20   A   NOT AS I RECALL THEM HERE ONE WAY OR ANOTHER. THEY MIGHT


  21   BE, BUT -- YEAH, I SAW A BUNCH OF DOCUMENTS.


  22   Q   WAS THIS THE ONLY TIME, THIS TWO- OR THREE-HOUR PERIOD,


  23   WAS THIS THE ONLY TIME YOU MET WITH THESE GENTLEMEN TO DISCUSS


  24   YOUR TESTIMONY?


  25   A   BEFORE I CAME ON THE STAND HERE?



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  1    Q   AT THIS POINT, LIMIT IT TO THAT, YES.


  2    A   YES.


  3    Q   HAD THERE BEEN PREVIOUS TIMES WHEN YOU HAD MET WITH


  4    ATTORNEYS TO DISCUSS YOUR TESTIMONY?


  5    A   I HAVE MET WITH MY LAWYERS TO DISCUSS MY DEPOSITION, WHEN


  6    I WAS GIVING MY DEPOSITION, YES.


  7    Q   AND ABOUT HOW MANY HOURS DID YOU MEET WITH YOUR LAWYERS IN


  8    THAT CONNECTION?


  9    A   I DON'T RECALL. I GAVE TWO DEPOSITIONS TWO DIFFERENT


  10   TIMES. I DON'T RECALL EXACTLY.


  11   Q   DURING ANY OF THESE TIMES, WAS ANY OF THIS VIDEOTAPED?


  12   A   NO, IT WAS NOT.


  13        MR. PRICE: YOUR HONOR, I HAVE NO FURTHER QUESTIONS


  14   OF MR. LARIAN AT THIS TIME.


  15        THE COURT: VERY WELL.


  16        CROSS-EXAMINATION.


  17               CROSS-EXAMINATION


  18   BY MR. NOLAN:


  19   Q   MR. LARIAN, I WANT TO TURN TO THAT LAST SUBJECT WE


  20   DISCUSSED, ABOUT MEETINGS WITH COUNSEL.


  21        I THINK YOU INDICATED THAT YOU MET LAST WEEK SOMETIME


  22   WITH COUNSEL.


  23        IS IT TRUE, MR. LARIAN, THAT AFTER JURY SELECTION AND


  24   BEFORE YOU TOOK THE STAND, YOU TOOK A TRIP OUT OF THE


  25   UNITED STATES?



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  1    A   I DID.


  2          MR. PRICE: OBJECTION. IRRELEVANT AND LEADING.


  3          THE COURT: OVERRULED.


  4          THE WITNESS: YES, I DID.


  5    BY MR. NOLAN:


  6    Q   WHAT WERE THE CIRCUMSTANCES? WHY DID YOU TRAVEL ABROAD?


  7          MR. PRICE: OBJECTION. THIS IS NOT RELEVANT.


  8          THE COURT: OVERRULED.


  9          I THINK THE DOOR HAS BEEN OPENED TO THIS.


  10         THE WITNESS: I WAS NAMED ENTREPRENEUR OF THE YEAR


  11   FOR THE UNITED STATES, AND I WAS GOING TO EUROPE TO COMPETE FOR


  12   ENTREPRENEUR OF THE WORLD.


  13   BY MR. NOLAN:


  14   Q   AND DO YOU HAVE IN FRONT OF YOU EXHIBIT 18480?


  15   A   YES.


  16   Q   DO YOU RECOGNIZE THIS DOCUMENT?


  17   A   I DO.


  18   Q   WHAT IS IT, SIR?


  19   A   THIS WAS BASICALLY THE STORY THAT WAS ON U.S. STATE


  20   DEPARTMENT'S WEBSITE REGARDING I WINNING THE ENTREPRENEUR --


  21         MR. PRICE: OBJECTION. THIS IS TESTIFYING TO BEFORE


  22   THE EXHIBIT IS IN.


  23         THE COURT: LET'S GO TO SIDE-BAR, COUNSEL, BRIEFLY.


  24         (SIDE-BAR PROCEEDINGS WERE HELD AS FOLLOWS:)


  25         THE COURT: MR. NOLAN, I'LL GIVE YOU LEEWAY -- THE



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  1    DOOR HAS BEEN OPENED -- BY ASKING ABOUT THIS MEETING. WHAT IS


  2    YOUR EXPLANATION ABOUT WHY HE WAS THERE? IT'S TO UPDATE HIM ON


  3    WHAT HAPPENED WHILE HE WAS GONE?


  4         MR. NOLAN: RIGHT.


  5         THE COURT: THERE IS INFORMATION ABOUT THAT, BUT


  6    THERE'S NO DISPUTE THAT HE WENT OVER AND WAS AMERICAN


  7    ENTREPRENEUR OF THE YEAR. WHY GET INTO THE ARTICLE AT THIS


  8    TIME? DOES IT LEAD TO ANOTHER ARTICLE, I'M AFRAID?


  9         MR. NOLAN: IT PROBABLY DOES. I WON'T GO INTO THIS.


  10        WELL, AS JUDGE TAKASUGI WOULD SAY, A LITTLE BIT TOO


  11   MUCH MUSTARD ON THE HOT DOG.


  12        THE COURT: WISE MAN.


  13        (WHEREUPON, SIDE-BAR PROCEEDINGS WERE CONCLUDED.)


  14   BY MR. NOLAN:


  15   Q   MR. LARIAN, WITHOUT REFERENCE TO THIS PARTICULAR DOCUMENT,


  16   WHAT COUNTRIES WERE REPRESENTED IN THIS INTERNATIONAL


  17   COMPETITION, IF YOU KNOW?


  18        MR. PRICE: OBJECTION. THE 'MUSTARD' RELEVANCE.


  19        THE COURT: OVERRULED, COUNSEL.


  20        THEN LET'S MOVE ON FROM THIS QUESTION.


  21        THE WITNESS: OVER 49 COUNTRIES WERE REPRESENTED IN


  22   THIS COMPETITION.


  23   BY MR. NOLAN:


  24   Q   DO YOU KNOW WHETHER OR NOT YOU WERE SELECTED BECAUSE OF


  25   YOUR INVOLVEMENT WITH THE DEVELOPMENT OF THE BRATZ DOLL?



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  1    A   NO. I WAS SELECTED BECAUSE --


  2          MR. PRICE: OBJECTION. LACK OF FOUNDATION.


  3          THE COURT: SUSTAINED.


  4    BY MR. NOLAN:


  5    Q   DID THE UNITED STATES WIN THE COMPETITION?


  6    A   NO, WE DID NOT.


  7    Q   WHICH COUNTRY DID?


  8    A   SWITZERLAND.


  9    Q   MR. PRICE ASKED YOU A NUMBER OF QUESTIONS CONCERNING


  10   ALLEGED CONCEALMENT OF CARTER BRYANT AS THE ILLUSTRATOR FOR THE


  11   DRAWINGS OF BRATZ.


  12         DO YOU RECALL THAT LINE OF QUESTIONS?


  13   A   I DO.


  14   Q   DO YOU HAVE EXHIBIT NUMBER 17281 IN FRONT OF YOU, SIR?


  15   A   YES.


  16   Q   DO YOU RECOGNIZE 17281?


  17   A   I DO.


  18   Q   WHAT IS IT?


  19   A   THIS IS AN E-MAIL THAT ERIC YIP, WHO WORKED FOR MGA HONG


  20   KONG, SENT TO A LADY NAMED ELING POON, WHO WORKED AT THE TIME


  21   FOR PREL, WHICH WAS THE AGENT FOR WAL-MART IN HONG KONG.


  22         MR. NOLAN: YOUR HONOR, WE'D OFFER EXHIBIT 17281.


  23         MR. PRICE: OBJECTION. FOUNDATION AS TO HOW HE'S


  24   SEEN THIS DOCUMENT.


  25         THE COURT: SUSTAINED.



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  1    BY MR. NOLAN:


  2    Q     DO YOU RECALL THE CIRCUMSTANCES BY WHICH THIS E-MAIL WAS


  3    SENT?


  4    A     YES.


  5    Q     DID ANYBODY APPROACH YOU AND ASK YOU FOR PERMISSION TO


  6    TAKE THE ACTIONS THAT ARE SET FORTH IN THIS E-MAIL?


  7    A     YES. ERIC YIP DID. AND I GAVE HIM AN INSTRUCTION TO DO


  8    IT.


  9    Q     WAS THIS E-MAIL SENT PURSUANT TO YOUR SPECIFIC


  10   INSTRUCTIONS?


  11   A     YES, IT WAS.


  12          MR. NOLAN: YOUR HONOR, WE'D NOW OFFER EXHIBIT 17281.


  13          MR. PRICE: NO OBJECTION.


  14          THE COURT: IT'S ADMITTED.


  15          YOU MAY PUBLISH.


  16   BY MR. NOLAN:


  17   Q     I JUST WANT TO GO TO THIS BEFORE THE LUNCH HOUR, AND THEN


  18   WE'LL COME BACK AND TALK ABOUT OTHER ISSUES.


  19          DO YOU SEE WHERE IT SAYS, "SUBJECT: FASHION DOLLS


  20   BRATZ FOR RON STOVER"? DO YOU SEE THAT?


  21   A     YES.


  22   Q     AND IMMEDIATELY ABOVE THAT, IT'S THE SENT DATE; AND,


  23   AGAIN, BECAUSE WE'RE READING IT, THE WAY IT'S SET FORTH IN THE


  24   ADDRESS THERE, IT'S DECEMBER 14, 2000.


  25   A     THAT'S CORRECT.



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  1    Q   AND CARTER BRYANT HAS BEEN WORKING AT MGA SINCE


  2    APPROXIMATELY OCTOBER 20TH; CORRECT?


  3    A   THAT'S CORRECT.


  4    Q   NOW, THIS SAYS, "FASHION DOLLS FOR RON STOVER."


  5         WOULD YOU MIND EXPLAINING TO THE JURY WHO


  6    RON STOVER IS.


  7    A   RON STOVER WAS THE BUYER FOR WAL-MART AT THE TIME FOR


  8    FASHION DOLLS.


  9    Q   AND HAD YOU EVER HAD ANY CONVERSATIONS WITH MR. STOVER


  10   CONCERNING MGA DEVELOPING FASHION DOLLS?


  11   A   YES. RON STOVER WAS A BUYER AT WAL-MART. WAL-MART IS,


  12   PERHAPS, THE BIGGEST RETAILER IN THE U.S.A., AND AT THE TIME, I


  13   WAS THE SALESMAN WHO WOULD CALL ON WAL-MART. I USED TO GO TO


  14   WAL-MART FROM HERE. I HAD TO FLY TO DALLAS, AND FROM DALLAS,


  15   TAKE A SMALL PLANE TO FAYETTEVILLE, ARKANSAS. FROM THERE, I


  16   HAD TO DRIVE TO BENTONVILLE, ARKANSAS, WHERE THE HEADQUARTERS


  17   OF WAL-MART IS. AND I HAD MADE MANY, MANY PRESENTATIONS TO HIM


  18   OF PRODUCTS, AND UNFORTUNATELY, HE WOULD NOT BUY ANYTHING FROM


  19   ME. I RECALL ON ONE OCCASION --


  20        MR. PRICE: YOUR HONOR, THIS SEEMS TO BE BEYOND THE


  21   SCOPE AT THIS POINT.


  22        THE COURT: LET'S BREAK IT UP, COUNSEL.


  23   BY MR. NOLAN:


  24   Q   YOU WERE TALKING ABOUT NUMEROUS TRIPS THAT YOU HAD TAKEN


  25   TO MEET WITH MR. WAL-MART, OR A REPRESENTATIVE OF WAL-MART.



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  1         WAS THERE A TIME THAT YOU HAD A MEETING WITH


  2    MR. STOVER WHERE THE SUBJECT OF MGA POSSIBLY DEVELOPING A


  3    FASHION DOLL CAME UP?


  4    A   NOT SPECIFICALLY A FASHION DOLL.


  5    Q   DO YOU RECALL DISCUSSIONS WITH MR. STOVER AT WAL-MART WITH


  6    RESPECT TO THE POTENTIAL OF PRESENTING ADDITIONAL NEW PRODUCTS


  7    TO HIM?


  8    A   I REMEMBER ONE SPECIFIC MEETING WHERE HE SAID -- BECAUSE


  9    HE WOULD NOT BUY ANYTHING FROM ME, SO -- AND I SAID, 'WHAT IS


  10   IT GOING TO TAKE?' HE SAID, 'BRING ME SOMETHING THAT COMPETES


  11   WITH BARBIE, AND I WOULD BUY IT.'


  12   Q   AND WHAT YEAR WAS THAT?


  13   A   IT WAS -- I DON'T REMEMBER THE EXACT YEAR, BUT IT WAS


  14   DEFINITELY BEFORE 2000.


  15   Q   NOW, TURNING BACK TO THIS EXHIBIT THAT WE HAVE UP HERE,


  16   ELING, IT SAYS "ELING." AND THIS IS FROM ERIC YIP. AND ELING,


  17   AGAIN, WORKS FOR PREL.


  18        AND PREL IS CONNECTED TO WHOM?


  19   A   PREL WAS, AS OF 2000, WHAT THEY CALL THE AGENT, THE BUYING


  20   AGENT, FOR WAL-MART, IN HONG KONG AND CHINA.


  21   Q   AND THEN YOU SEE THAT IT SAYS, "ELING, PLEASE SEE ATTACHED


  22   PICTURES AND PHOTOS FOR THE FASHION DOLLS THAT WE ARE GOING TO


  23   PRESENT TO RON IN JANUARY. IN FACT, THIS SERIES OF DOLLS IS


  24   ONE OF OUR KEY ITEMS FOR 2001. PLEASE NOTE THAT THESE PICTURES


  25   ARE PRELIMINARY CONCEPT DRAWINGS AND ARE FOR YOUR REFERENCE



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  1    ONLY. THE FINAL PRODUCTS MAY VARY WHEN WE PUT THESE IN


  2    PRODUCTION. HOWEVER, WE WILL HAVE MOCK-UPS/WORKING SAMPLES


  3    AVAILABLE IN THE JANUARY TOY SHOW."


  4          DO YOU SEE THAT?


  5    A   YES.


  6    Q   DID I READ THAT CORRECTLY?


  7    A   YOU DID.


  8    Q   SO YOU KNEW THAT ERIC YIP FROM MGA WAS GOING TO SEND TO


  9    THE AGENT OF WAL-MART CONCEPT DRAWINGS; CORRECT?


  10   A   I INSTRUCTED HIM TO DO SO. YES.


  11   Q   WOULD YOU TURN TO THE SECOND PAGE OF THIS EXHIBIT.


  12         DO YOU RECOGNIZE THE DRAWING THAT'S DEPICTED ON THE


  13   VERY FIRST PICTURE THAT WAS INCLUDED IN THIS E-MAIL?


  14   A   I DO.


  15   Q   AND WHAT IS THAT?


  16   A   THIS IS WHAT WE CALL THE HERO DRAWINGS THAT HE DREW, TO


  17   THE BEST OF MY RECOLLECTION, FOR THE CONCEPT OF BRATZ, AFTER HE


  18   HAD LEFT MATTEL.


  19   Q   CAN I JUST SHOW YOU ON THE BOTTOM -- YOU SEE WHERE IT


  20   SAYS, "ALL MATERIALS COPYRIGHT 2000, CARTER BRYANT?"


  21         DO YOU SEE THAT?


  22   A   I DO.


  23   Q   IF YOU WERE CONCEALING CARTER BRYANT AS THE ILLUSTRATOR


  24   FOR THE BRATZ DRAWING, WHY ARE YOU ALLOWING CARTER BRYANT'S


  25   NAME TO BE ATTACHED TO DRAWINGS SENT TO WAL-MART?



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  1    A   WE WERE NOT CONCEALING CARTER BRYANT'S NAME.


  2    Q   DO YOU HAVE EXHIBIT NUMBER 01703 IN FRONT OF YOU?


  3    A   I DO.


  4    Q   DO YOU RECOGNIZE THIS DOCUMENT?


  5    A   I DO.


  6    Q   WHAT IS THIS DOCUMENT?


  7    A   THESE WERE DOCUMENTS THAT WE FILED, TO THE BEST OF MY


  8    RECOLLECTION, IN BRAZIL, TO REGISTER THE COPYRIGHT FOR BRATZ.


  9    Q   AND DO YOU SEE IN THE LOWER RIGHT-HAND CORNER, WHERE IT


  10   SAYS "RIO DE JANEIRO," THERE'S A DATE?


  11   A   YES.


  12   Q   WHAT IS THE DATE?


  13   A   JANUARY 26, 2002.


  14         AGAIN, I DON'T READ PORTUGUESE, BUT I CAN READ THOSE


  15   NUMBERS.


  16         MR. NOLAN: YOUR HONOR, WE'D OFFER EXHIBIT 1703.


  17         THE COURT: ANY OBJECTION?


  18         MR. PRICE: LACK OF FOUNDATION.


  19         THE COURT: WHAT IS YOUR OBJECTION?


  20         MR. PRICE: HE CAN'T READ THIS. LACK OF FOUNDATION.


  21         THE COURT: SUSTAINED.


  22   BY MR. NOLAN:


  23   Q   REGARDLESS OF WHETHER OR NOT YOU CAN READ PORTUGUESE, DO


  24   YOU HAVE AN UNDERSTANDING OF WHAT THIS DOCUMENT IS?


  25   A   IT IS A COPYRIGHT REGISTRATION FOR BRATZ IN PORTUGAL, AND



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  1    THE DATE IS ON THE TOP ALSO; AND THE DATE -- YOU CAN FIGURE OUT


  2    THAT IT'S JANUARY 26, 2002.


  3    Q   WERE YOU AWARE THAT MGA WAS --


  4    A   IT'S IN NUMBERS. IT'S NOT IN PORTUGUESE. IT WAS JUST


  5    BASICALLY ENGLISH NUMBERS.


  6    Q   WERE YOU AWARE THAT MGA WAS REGISTERING THE TRADEMARK OF


  7    BRATZ IN RIO DE JANEIRO?


  8    A   IN BRAZIL.


  9    Q   IT'S IN BRAZIL.


  10   A   RIO DE JANEIRO IS IN BRAZIL, YES.


  11   Q   NOW, LOOKING AT THIS DOCUMENT, NOT ALL OF THE WORDS ARE IN


  12   PORTUGUESE; RIGHT?


  13   A   NO, THEY ARE NOT.


  14        MR. NOLAN: YOUR HONOR, WE'D OFFER EXHIBIT 1703.


  15        MR. PRICE: SAME OBJECTION. LACK OF FOUNDATION.


  16        THE COURT: COUNSEL, I THINK YOU CAN GO A LITTLE BIT


  17   FURTHER IN CONNECTING THE TWO POINTS THAT YOU JUST MADE, IN


  18   TERMS OF HOW HE KNOWS THAT THESE DOCUMENTS ARE ACTUALLY


  19   CONNECTED WITH THAT REGISTRATION.


  20        I'M GOING TO SUSTAIN THE OBJECTION AGAIN.


  21   BY MR. NOLAN:


  22   Q   CONTINUING TO LOOK AT EXHIBIT 1703 FOR A MOMENT, DID YOU


  23   UNDERSTAND THAT WITH RESPECT TO SELLING THE BRATZ DOLLS AND


  24   OFFERING THEM FOR COMMERCE IN VARIOUS PARTS OF THE WORLD, THAT


  25   TRADEMARK REGISTRATION WOULD BE FILED IN VARIOUS COUNTRIES?



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  1    A   YES.


  2    Q   DID YOU EVER, AT ANY TIME, DIRECT YOUR LAWYERS TO CONCEAL


  3    THE NAME OF CARTER BRYANT IN ANY OF THE FILINGS?


  4    A   ABSOLUTELY NOT.


  5          MR. PRICE: OBJECTION. MOVE TO STRIKE AS TO


  6    PRIVILEGE.


  7          THE COURT: SUSTAINED.


  8          REPHRASE YOUR QUESTION.


  9    BY MR. NOLAN:


  10   Q   EXHIBIT NUMBER 01703 CONSISTS OF NUMEROUS PAGES; CORRECT?


  11   A   THAT'S CORRECT.


  12         THE COURT: COUNSEL, YOU'RE ASKING FOR ALL OF 1703?


  13   THERE APPEARS TO BE ENGLISH TRANSLATIONS, BUT THERE'S NO


  14   FOUNDATION LAID FOR THOSE ENGLISH TRANSLATIONS.


  15         MR. NOLAN: I WAS GOING TO TRY A DIFFERENT WAY,


  16   YOUR HONOR.


  17         THE COURT: VERY WELL.


  18   BY MR. NOLAN:


  19   Q   IN SEPTEMBER OF 2002, WAS A DOLL BY THE NAME OF "JADE"


  20   MANUFACTURED AND OFFERED FOR SALE BY MGA?


  21   A   IT WAS.


  22   Q   WAS IT YOUR INTENT TO HAVE THAT "JADE" NAME TRADEMARKED IN


  23   BRAZIL --


  24   A   I DID.


  25   Q   -- IN 2002?



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  1    A   THAT'S CORRECT.


  2    Q   AND ALSO IN 2002, WAS MGA MANUFACTURING AND OFFERING FOR


  3    SALE A BRATZ DOLL BY THE NAME OF "SASHA"?


  4    A   WE DID.


  5    Q   WAS IT YOUR INTENTION TO HAVE THE TRADEMARK FOR SASHA


  6    REGISTERED IN BRAZIL?


  7    A   YES, WE DID.


  8    Q   IN OR AROUND SEPTEMBER OF 2002?


  9    A   YES, WE DID.


  10   Q   AND, ALSO, IN OR ABOUT SEPTEMBER OF 2002, WAS MGA


  11   MANUFACTURING AND OFFERING FOR SALE IN BRAZIL A BRATZ DOLL WITH


  12   THE NAME "YASMIN"?


  13   A   YES, WE DID.


  14   Q   DID YOU INTEND TO HAVE THE NAME "YASMIN" TRADEMARKED IN


  15   BRAZIL?


  16   A   YES, WE DID.


  17   Q   AND IN SEPTEMBER OF 2002, WAS MGA MANUFACTURING AND


  18   OFFERING FOR SALE IN BRAZIL A BRATZ DOLL WITH THE NAME "CLOE"?


  19   A   YES, WE DID.


  20   Q   WAS IT YOUR INTENT TO HAVE THE NAME "CLOE" REGISTERED IN


  21   BRAZIL?


  22   A   YES, WE DID.


  23        MR. NOLAN: YOUR HONOR, WITH THAT FOUNDATION, I WOULD


  24   OFFER EXHIBIT 1703, PAGES 001, 002, 003, AND 004, OFFERED INTO


  25   EVIDENCE.



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  1        MR. PRICE: THERE'S NO FOUNDATION FOR THIS WITNESS.


  2        THE COURT: LET'S COME BACK TO THIS, COUNSEL.


  3        ACTUALLY, WE'RE A MINUTE AWAY FROM 11:45. LET'S TAKE


  4    OUR BREAK NOW, AND WE CAN DISCUSS THIS DURING THE BREAK.


  5        LET'S EXCUSE THE JURY.


  6        (WHEREUPON, JURORS DEPART COURTROOM.)


  7        THE COURT: MR. NOLAN, THE PROBLEM WITH THESE SERIES


  8    OF DOCUMENTS, BESIDES BEING A FOREIGN LANGUAGE, IS THAT YOU


  9    HAVEN'T TIED THE DOCUMENTS THEMSELVES TO MR. LARIAN'S


  10   TESTIMONY. HE'S TESTIFIED THAT, YES, HE HAD THESE PREPARED, OR


  11   WANTED TO HAVE THEM PREPARED, BUT THERE'S NOT A CONNECTION OF


  12   THESE DOCUMENTS TO HIM.


  13       MR. NOLAN: YOUR HONOR, I'LL LAY THE FOUNDATION THAT


  14   HE IS AWARE THAT, IN FACT, THESE DOCUMENTS WERE FILED AT HIS


  15   DIRECTION IN RIO DE JANEIRO. AND, OF COURSE, THE IMPORT OF ALL


  16   OF THIS IS THAT THE NAME "CARTER BRYANT" IS PROMINENTLY


  17   DISPLAYED HERE, NOT IN PORTUGUESE, BUT IN ENGLISH.


  18       THE COURT: I UNDERSTAND WHY YOU WANTED TO GET THEM


  19   IN. THERE'S JUST A QUESTION OF THE FOUNDATION TO GET THEM IN


  20   THROUGH THIS WITNESS.


  21       MR. NOLAN: WELL, YOUR HONOR --


  22       THE COURT: CAN HE TESTIFY TO HAVING REVIEWED THESE


  23   DOCUMENTS BEFORE THEY WERE SUBMITTED?


  24       MR. NOLAN: YOUR HONOR, RESPECTFULLY, I DOUBT THAT,


  25   IN TERMS OF LOOKING AT THIS. BUT WHAT HE WILL SAY IS THAT HE



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  1    AUTHORIZED IT, HE WANTED IT, HE UNDERSTOOD IT, AND THAT HE


  2    UNDERSTOOD IT WAS DONE, AND THAT HE UNDERSTOOD THAT, IN FACT,


  3    HIS DIRECTIONS WERE CARRIED OUT.


  4         AND, YOUR HONOR, THERE'S NO DISPUTE WITH RESPECT TO


  5    THE VALIDITY OF THESE DOCUMENTS OR THAT THEY WERE FILED IN


  6    BRAZIL.


  7         THE COURT: IF THAT'S THE CASE, WHY DON'T YOU DISCUSS


  8    THIS DURING THE BREAK, AND WE'LL TAKE THIS UP AT 1:15.


  9         MR. NOLAN: I'M SURPRISED THEY WERE FIGHTING IT.


  10        THE COURT: AS IT STANDS RIGHT NOW, MR. PRICE IS


  11   CORRECT, THERE'S INADEQUATE FOUNDATION. IT SOUNDS LIKE THIS


  12   COULD ULTIMATELY BE INTRODUCED THROUGH ANOTHER WITNESS. TO


  13   SAVE TIME, IF THERE REALLY IS NO DISPUTE ABOUT THIS, PERHAPS A


  14   STIPULATION CAN BE REACHED. BUT I'LL LEAVE THAT UP TO COUNSEL


  15   DURING THE BREAK.


  16        MR. PRICE: BECAUSE OF THE (UNINTELLIGIBLE), THE


  17   DISPUTE IS WHETHER HE KNEW ANYTHING ABOUT MR. BRYANT'S NAME


  18   BEING REVEALED, AND IF HE NEVER SAW THESE, AND GIVEN HIS


  19   TESTIMONY ABOUT REVIEWING LAWYER WORK PRODUCT, I DOUBT HE DID.


  20   BUT (UNINTELLIGIBLE) FOR 403 IN THE SENSE THIS GENTLEMEN -- THE


  21   IMPORT OF THIS IS, THIS GENTLEMAN KNEW CARTER BRYANT'S NAME WAS


  22   BEING REVEALED TO THE WORLD, AND YOU CAN'T DO THAT THROUGH THIS


  23   DOCUMENT, UNLESS HE SAW THIS DOCUMENT, OR UNLESS HE INSTRUCTED,


  24   'I WANT CARTER BRYANT'S NAME IN THAT DOCUMENT.'


  25        THE COURT: THERE'S GOT TO BE A GREATER NEXUS,



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  1    COUNSEL.


  2         AT THIS POINT, I'M GOING TO SUSTAIN THE FOUNDATION.


  3    THERE'S DIFFERENT WAYS THAT I COULD THINK OF THIS BEING DONE,


  4    BUT I'LL LEAVE THAT UP TO YOU.


  5         MR. NOLAN: CAN I TAKE ONE MORE MINUTE? BECAUSE


  6    WE'RE GOING TO COME BACK AT 1:15 AND TALK TO THE JUROR.


  7         THE COURT: WE'RE GOING TO COME BACK AT 1:15 AND TALK


  8    WITH THE JUROR, AND I'M GOING TO COME BACK AT 1:15 AND ANNOUNCE


  9    MY DECISION ON MOTION IN LIMINE NUMBER 13.


  10        MR. NOLAN: I HAVE A SUGGESTION WITH RESPECT TO THE


  11   JUROR NOTE, AND I DON'T KNOW WHETHER OR NOT YOU WANT TO ADDRESS


  12   IT RIGHT NOW.


  13        NUMBER ONE, IT SEEMS TO ME THAT WHAT IS BEING DONE


  14   WITH RESPECT TO THE RECISION OF HER SUMMER CONTRACT BECAUSE


  15   SHE'S ON JURY DUTY IS INAPPROPRIATE. I WOULD ASK THE COURT TO


  16   AT LEAST CONSIDER A PHONE CALL TO SUGGEST THAT THE POWERS OF


  17   THE UNITED STATES DISTRICT COURT, SIMILAR TO THE LETTER THAT


  18   WAS WRITTEN FOR, I THINK, JURY NUMBER 7, BE EVOKED.


  19        WITH RESPECT TO THE RHEUMATOID ARTHRITIS CONDITION,


  20   THE NEED FOR MEDICATION, AGAIN, YOUR HONOR, THERE, I THINK


  21   WE'VE MADE ACCOMMODATIONS WITH RESPECT TO OTHER THINGS, THAT WE


  22   COULD EASILY ACCOMMODATE THE EARLIEST APPOINTMENT AND MAYBE


  23   START A LITTLE BIT LATER OR BREAK EARLIER IN THE DAY.


  24        THAT'S WHAT I WOULD SUGGEST, YOUR HONOR.


  25        WHAT I'M CONCERNED ABOUT IS, THIS IS THE SECOND NOTE



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  1    FROM A JUROR, AND WE'VE STILL GOT A LONG WAY TO GO.


  2            THE COURT: VERY WELL.


  3            DOES MATTEL WISH TO BE HEARD AT THIS TIME?


  4            MR. QUINN: WE ACTUALLY JOIN IN MR. NOLAN'S COMMENTS.


  5            THE COURT: VERY WELL.


  6            WHAT I'LL DO WHEN I BRING HER IN AT 1:15 IS TRY TO


  7    EXPLORE WHO IT IS THAT THE COURT MIGHT CONTACT TO ENFORCE


  8    WHATEVER AGREEMENT SHE HAD PREVIOUSLY WORKED OUT. IT SOUNDS


  9    LIKE SHE HAD DONE WHAT SHE WAS SUPPOSED TO DO BY GETTING THIS


  10   CLEARED WITH THE APPROPRIATE AUTHORITIES; AND THEN FOR WHATEVER


  11   REASON, SOMEONE CHANGED THEIR MIND. LET ME FLUSH THAT OUT A


  12   LITTLE BIT WITH HER; SEE WHAT THE COURT CAN DO. IN THE


  13   MEANTIME, I'LL KEEP HER ON THE JURY. AND CERTAINLY, IF SHE


  14   NEEDS TO SCHEDULE A DOCTOR'S APPOINTMENT TUESDAY THROUGH


  15   FRIDAY, WE CAN JUST BREAK EARLY OR START LATER.


  16           ANYTHING ELSE?


  17           SEE YOU AT 1:15.


  18           (CONCLUSION OF MORNING SESSION.)


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  24   / / /


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  1

  2                 CERTIFICATE

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  4    I HEREBY CERTIFY THAT PURSUANT TO SECTION 753, TITLE 28, UNITED

       STATES CODE, THE FOREGOING IS A TRUE AND CORRECT TRANSCRIPT OF

  5    THE STENOGRAPHICALLY RECORDED PROCEEDINGS HELD IN THE

       ABOVE-ENTITLED MATTER AND THAT THE TRANSCRIPT PAGE FORMAT IS IN

  6    CONFORMANCE WITH THE REGULATIONS OF THE JUDICIAL CONFERENCE OF

       THE UNITED STATES.

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       _____________________________    _________________

  9    THERESA A. LANZA, RPR, CSR          DATE

       OFFICIAL COURT REPORTER

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